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Declaration of Status of john joseph: whitfield
United States District Court, (court name)
Miscellaneous Docket No.:
“Legal Papers” Consisting of Sixteen Verified Affidavits and
Five Verified Unilateral Contracts Under Seal (Total of Sob. Pages)

Restoration of Former Status

From Being a Public “United States” citizen
Nationally-owned “U.S. citizen” as of March 9, 1933,
Holding the de facto, Artificial Status of being a Corporate Citizen

To Becoming Once Again Postliminy

A Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non- “U.S. citizen”

Pursuant to Section 1, Fourteenth Amendment;
Constitution for the United States of America

“Art thou called being a servant? Care not for it:
But if thou mayest be made free, use it rather.”
I Corinthians 7:21

john joseph: whitfield, American Freeman/State National
Pre-March 9, 1933, Private Citizen of the United States/
Private American National / Non-“U.S. citizen”
Pre-March 9, 1933, Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Mailing: 4214 W Wendover Ave, #1070,
Greensboro, North Carolina,
ZIP Code Excepted [27407]

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Affidavit 1
Introduction and Summation

Historical Background to Private American Citizenship Status
Pre-March 9, 1933, Private Citizen of the United States: American National

“Indeed, no more than (an affidavit) is necessary to make the prima facie case.”
United States v. Kis, 658 F.2d, 526, 536 (7 Cir., 1981);
Certiorari Denied, 50 U.S.L.W. 2169; 8. Ct. March 22, 1982
In judicio non creditor nisi juratis. (In a trial, credence is given only to those who are sworn.)
Maxim: “Equity regards as done that which ought to have been done.”

Accordingly, I, john joseph: whitfield, in esse and sui juris, of lawful age to give
testimony, being duly sworn, depose and declare that the following facts are true, correct
and complete to the best of my knowledge and belief.

I, john joseph: whitfield, do solemnly declare and affirm the following historical facts
with regard to the status of de jure Private American National citizenship (said original
federal citizenship, secured by Article IV, Section 2, having been broadened into national
citizenship by Section 1 of the 14 Amendment to the Constitution of the United States of
America) and the design of the Roman papacy, spearheaded by the military order of the
Society of Jesus, to overthrow the liberties of Private American National Citizens of the
United States of America by imposing a State-created or Nationally-created, statutory, de
facto Public “U.S. citizenship” via the Birth Certificate or Nationalization Certificate.
This de facto Public U.S. citizenship, being in substance a privileged Roman citizenship,
would enable the constitutionally de jure civilian government of the United States (having
been constitutionally altered from being a de jure “Federal” government to a de jure
“National” government by the 14° Amendment, 1868) to be replaced with a
Congressionally-created, statutory, de facto Emergency War Powers military government
of the United States on March 9, 1933. This radical, socialist-communist coup d’état
plotted by the infamous Society of Jesus, aided by the Knights of Columbus and carried
out by its Scottish-Rite Masonic agent, President Franklin “Augustus Caesar” Roosevelt,
would “oust” thereby overthrowing the civilian government exercising the constitutional,
de jure jurisdiction of the United States (the “United States” being “the collective name
of the states which are united by and under the constitution,” Hooven & Allison Co. v.
Evatt, 324 U.S. 652, 672), replacing it with a de facto military government exercising an
extra-constitutional, alien and foreign, de facto, emergency wart powers military
jurisdiction of the United States (this “United States” being “the territory over which the
sovereignty of the United States extends,” Hoeven & Allison Co. v. Evatt, supra, 671).

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Further, by legally replacing constitutional de jure Private American Citizenship with de

facto Public “U.S. citizenship,” thereby enabling the constitutional de jure jurisdiction
of the “United States” to be legally replaced with a statutory de facto, emergency war
powers military jurisdiction of the “United States,” the Jesuit Order would fulfill its
design of overthrowing the liberties of the United States as plotted during the Congress of
Vienna (1814-1815) and the subsequent Secret Treaty of Verona (1822) because of which
President James Monroe issued his blessed “Monroe Doctrine” (1823)—and for which he
was given “the poison cup” on July 4, 1831. American inventor Samuel F. B. Morse
warned of this diabolical Jesuit Conspiracy against America in his epic work, Foreign
Conspiracy Against the Liberties of the United States, published in 1835.

Further, this overthrow of both de jure Private American National Citizenship at
Common Law and its counterpart, the de jure jurisdiction of the “United States” at
Common Law, would enable the Jesuits from Georgetown University to use the de facto
Emergency War Powers American Congress created on March 9, 1933—now possessing
the unlimited legislative powers of an English Parliament—to wield absolute legislative
power over the de jure fifty sovereign states reduced to de facto “conquered territories”
ruled by the statutorily-created, de facto national Emergency War Powers military
government. This unlimited, congressional power would enable the Jesuits, ruling their
de facto military government of their de facto American Empire, to control by statute
every facet of American life “from the cradle to the grave.” This control would include
the imposition of socialist-communism for the building of cartel capitalism and the
destruction of the historic White Protestant and Baptist Middle Class Americans (as well
as all others); the building of a huge military industrial complex while using their de facto
Public “U.S. citizens” to work in the Jesuit Order’s anti-laisser-faire, cartel-capitalist
corporations; and to finance and fight the wars of the pope’s American Empire. These
international crusades, directed by the Society of Jesus within the geographical United
States via its Council on Foreign Relations, would be fought for the benefit of the Roman
papacy in restoring the Temporal / Political Power of the pope over the governments of all
nations while subsequently militarizing those conquered or abandoned nations—as most
recently occurred in Afghanistan (2021) when the Jesuits, ruling the Biden Administration,
gave over eighty billion dollars in American weaponry to the Sunni Muslim Taliban.

Further, with the change of the de jure constitutional jurisdiction of the “United States”
(with its Common Law civilian due process and procedure secured by the Fifth
Amendment, the Seventh Amendment and section 1 of the Fourteenth Amendment) to a
de facto, extra-constitutional, Roman Civil Law jurisdiction of the “United States”
(established by an amended World War I statute (1933), a Presidential Proclamation (1933)

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and the subsequent abolition of Common Law rights and Common Law civilian due
process by the Supreme Court (1938)), an alien and foreign military due process would
be adopted by the federal and state courts fitted for the new de facto Public “U.S. citizens”
living in the states deemed de facto “conquered territories.” Since these de facto Public
“U.S. citizens” are in substance Roman citizens, and since these de facto “conquered
territories” are in substance Roman provinces under military rule, it 1s only fitting that the
Roman / Public “U.S. citizens” should be criminally and civilly subjected to a military
due process imposed by their constitutionally-created civilian courts. This de facto military
due process, if unchallenged by prima facie evidence proving the accused to be an
American Private National Citizen of the United States of America and not a Roman Public
“U.S. citizen,” would confer, in substance, military in personam jurisdiction. With this
absolutist judicial jurisdiction limited only by decisions of the Supreme Court, the federal
courts would be in substance territorial courts of the Conqueror. These Emergency War
Powers Courts would enforce the sovereign will of the de facto Emergency War Powers
Congress, while sitting in a special, “Roman Equity” in substance, a military equity,
operating upon a legal fiction. The legal fiction, the artificial person clothing the man,
would be the presumption of fact that each individual Private American National Citizen
of the United States of America was in contract with, and enfranchised by, the state of his
natural birth, thereby altering his constitutional, de jure Private American National
Citizenship status conferred at birth into a statutory, de facto Public National “U.S.
citizenship” upon the public filing of a unilateral contract in conjunction with the
Commander in chief’s seizure of every registered person, place and thing on March 9,
1933, which change in status would enable and obligate the Emergency War Powers courts
to dispose of this matter, federal or state, criminal or civil.

Further, that unilateral contract was the public filing of a “Certificate of Live Birth”
deliberately patterned after the Roman Catholic “Certificate of Baptism” creating Vatican
City-state citizenship. The American “Certificate of Live Birth”’—by operation of law—
would be the contract to alter de jure Private American National Citizenship to de facto
Public “U.S. citizenship.” With this presumption of fact of an existing contract held by
every individual Public “U.S. citizen” (for which its Private American National Citizen of
the United States would be Surety primarily liabie), every court legally sits in a military,
Roman Equity (in which the rules of Law and Equity have been merged) enforcing the
statutes of an Emergency War Powers Congress. This de facto status enables and obligates
all federal and state courts to proceed according to the course of English/American
Admiralty which in turn follows the maxims of Roman Civil Law Equity thereby
fulfilling the grand design of the Society of Jesus in subverting the Common Law
jurisdiction of the United States (as per Section 1, 13% Amendment, and Section 1, 14"

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Amendment) by rendering ineffective the constitutional status of de jure Pre-March 9,
1933, Private American National Citizens of the United States of America (Section 1, 14"
Amendinent).

Further, this evil design of the Society of Jesus against the Constitutional, Common Law
liberties of the Private American National Citizens of the United States of America was set
forth by one of the Order’s Masonic Temporal Coadjutors. That man was Sir Henry
Sumner Maine, Regis Professor of the Civil Law in the University of Cambridge,
England. In his Ancient Law: Its Connection with the Early History of Society, and its
Relation to Modern Ideas (1864), Maine sets forth his three-part plan that, after its
imposition, overthrew limited American government born out of the Protestant
Reformation (1517-1648) and the First American Great Awakening (1735-1745). That
diabolical, “unholy trinity” was first the creation of a Legal Fiction, after which the
imposition of judicial Equity after the overthrow of American Common Law, then opening
the door to congressional/parliamentary, unlimited Legislation. (The philosophic parallel
to this formula is “Substance, Mode and Circumstance.”) The jegal foundation and
substance for this de facto overthrow of the limited, constitutional, de jure “jurisdiction of
the United States” is the Legal Fiction. That Legal Fiction, evil though legally imposed
by silent consent of each Private American National Citizen, was the public filing of a
Certificate of Live Birth, the Baptismal Certificate of every nationally-owned, Public “U.S.
citizen.” Hence, every Private American National Citizen became subordinate Surety for,
and the held Property of, his alter ego and Gemini Twin, the Public “U.S. citizen.” As of
March 6, 1933, all Public “U.S. citizens” —with their registered Surety/Property, Private
American National Citizens—were seized as booty of war by President Franklin
Roosevelt’s military, emergency war powers Proclamation 2039 which in fact overthrew
the Sovereignty of “We the People” of the United States of America, reducing them to
being mere property of Rome’s de facto military government sitting in “the District of
Columbia,” to be treated as “rebels and belligerents” living in the fifty states deemed by
the Conqueror / Commander in chief to be merely “‘occupied territories,” the seized state
governors ruling their de facto military governments in subordination to Washington, D.C.

Therefore, finding this situation of statutorily-altered, Private American National
citizenship status intolerable being in contradiction with the maxims of Holy Scripture
(Proverbs 11:15), and at variance and in conflict with the originally established courts of
Common Law as well as the courts of exclusive/inherent Equity/Chancery governed solely
by the Maxims of Equity, I, john joseph: whitfield, do solemnly declare and affirm:

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1. WHEREAS, the FRANCHISE, CORPORATE SOLE, and or BIRTH
CERTIFICATE, being in fact a unilateral contract under seal, was created and
offered legally though deceitfully, its open-but-false purpose being to aid in the
Census as a means of identification in the documentation of a natural birth, as well
as for health reasons and purposes; its secret-but-true purpose being to rob “We the
People,” which includes every individual Private American National Citizen, first
of our national sovereignty as a People, then of our constitutionally-created status,
and ultimately our lives, fortunes and sacred honor; and,

2. WHEREAS, the secret-but-true purpose of the BIRTH CERTIFICATE, a unilateral
contract under seal, is to be a covert commercial agreement and unconscionable,
adhesion contract / quasi-contract between the state of the “child’s” natural birth
and the mother of the baby, the baby then deemed property of the National, de facto
military government of the United States (the BIRTH CERTIFICATES being
recorded by the Department of Commerce then to serve as collateral securities for
the unquestionable public debt as per Section 4 of the 14 Amendment); and,

3. WHEREAS, the true nature of the DATE OF FILING on the BIRTH
CERTIFICATE, a unilateral contract under seal, is to commence the legal birth of
the quasi-corporate, artificial person / Public “U.S. citizen” created by all necessary
legal elements of a unilateral contract (it being in writing, signed, sealed and
delivered for registration and filed with a public office of the “child’s” state of live
birth); and,

4. WHEREAS, the true nature of the DATE OF BIRTH of the “child” named on the
BIRTH CERTIFICATE is to commit the natural person / Private American National
Citizen as Surety for, and personal property of, the state-created, artificial person
/ Public “U.S. citizen,” both entities being legally wedded into one legal entity, the
hybrid, nationaily-owned, man-person, Public “U.S. citizen”;

5. WHEREAS, the BIRTH CERTIFICATE is a COMMERCIAL INSTRUMENT
recorded with the County Recorder, a subsidiary of the Secretary of State (of the
several states treated as “conquered territories”), also sent to the Bureau of Census,
a division of the Department of Commerce in Washington, D.C., placing the NAME
of the Public “U.S. citizen” into interstate and foreign world commerce as a
statutory, legal “person” (as are corporations, partnerships, trusts, corporate soles,
etc.), distinct and separate from the “natural born citizen” as well as the naturalized
citizen, i.e., the Private American National Citizen; and,

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6. WHEREAS, the Secretary of State (of the several states) charters corporations and
issues franchises, therefore, any natural born or naturalized citizen / Private
American National Citizen having a BIRTH CERTIFICATE, and a “source” of
“income” is liable to the Franchise Tax Board of the State’s Department of Revenue
for income/excise/privilege taxes, as well as being liable to the Internal Revenue
Service collecting the internal revenue for the “Federal Corporation” of the United
States (28 USC 3002(15){A) via excise / income / privilege taxes in payment of the
interest on the national debt (proven by President Ronald Reagan’s Grace
Commission) which interest is owed to the Roman papacy’s Federal Reserve Bank;
and,

7, WHEREAS, this BIRTH CERTIFICATE, functioning as a COMMERCIAL
INSTRUMENT, has hoodwinked Private American National Citizen john
joseph: whitfield, a.k.a. JOHN JOSEPH WHITFIELD, allegedly named on said
certificate, into an unknown and covert implied contract by operation of law, placing
Affiant and fellow Private American National Citizens under an alien, foreign and
yet “temporary,” de facto emergency war powers military jurisdiction of the United
States created at first by the “Emergency Banking Relief Act” on March 9, 1933
(Section II containing a congressionally-amended WWI statute known as the
“Trading With the Enemy Act”) codified at 12 USC 95a-b, and secondly by
President Franklin D. Roosevelt’s Emergency War Powers Proclamation 2040 also
decreed on March 9, 1933; and,

8. WHEREAS, the above de facto jurisdiction of the United States includes the
jurisdiction of the constitutionally-created, federal and state civilian courts (IN
FORM) sitting in emergency war powers military jurisdiction proceeding
according to the course of English/American Admiralty IN SUBSTANCE), every
defendant having a surety primarily liable, they no longer proceeding against the
accused Private American National Citizen with the Mode of a Common Law
civilian due process, but rather with the Mode of a Roman Civil Law military due
process that, if unchallenged by producing state-filed public records and other
prima facie evidence, will confer a military jurisdiction over the accused then forced
to plead in a court imposing military due process and procedure derived from a
congressionally-amended, World War I statute as of March 9, 1933, the judges,
federal and state, acting on behalf of the de facto military dictator / Commander in
chief sitting in his District of Columbia (“Rome on the Potomac”); and,

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9. WHEREAS Affiant, a Private American National Citizen, has ceased to be Surety
for and the registered property of, Public “U.S. citizen” “JOHN JOSEPH
WHITFIELD” by means ofa duly filed “Release With Consideration—Nunc Pro
Tunc Ab Initio,” and “Rescission of Signatures of Suretyship—Nunc Pro Tunc
Ab Initio,” thereby returning to the former status of being a Pre-March 9, 1933,
Private American Citizen held for less than eighteen (18) days after Affiant’s natural
birth; and,

10. WHEREAS Affiant in esse, has irrevocably separated himself from the state-
created FRANCHISE, CORPORATE SOLE, “UNITED STATES CITIZEN,”
created by means of a publicly-filed BIRTH CERTIFICATE attached hereto, and
hereby revokes all powers, including, but not limited to, Powers of Attorney and /
or Agency that Affiant may have granted to any third party, public and / or private.
Therefore, Affiant is not a party to FDR’s contract with all “U.S. citizens” by means
of Proclamation 2040 confirmed and approved by Congress in its passage of the
“Emergency Banking Relief Act” thereby amending the “Trading With the
Enemy Act.” Therefore, Affiant is not in commerce (as are corporations), never to
enjoy any commercial privilege of limited liability as a matter of “United States
citizenship” status (as do corporations being also Public “U.S. citizens”), having
discharged all de facto Emergency War Powers Military Governments, national and
state, from any duty or obligation having arisen from Affiant being the Property of,
Surety for and/or wedded to the state-created hybrid, the federally-owned, Public
“U.S. citizen” serving the District of Columbia for papal commerce and war; and,

11. WHEREAS, I, john joseph: whitfield, have returned to my former status of being
an American Freeman, American National and State National in exclusive Equity,
i.e., ade jure Private National Citizen of the United States protected by section One
of the Fourteenth Amendment and therefore stand “in personam,” “in esse” and
“sui juris,” possessing all God-given, unalienable rights including those protected
by the first eight amendments of the Bill of Rights, all Constitutional fundamental
rights (federal and state) and all Common Law rights of a de jure Private Citizen of
the United States / American National no longer under the legal disability of being
the Property of, Surety primarily liable for and / or wedded to a de facto, state-
created business organization, Public “U.S. citizen” legally owned by the National,
de facto Emergency War Powers Military Government of the United States; and,

12. WHEREAS, I, john joseph: whitfield, am no longer the Property of, Surety for
and / or wedded to a de facto Public “U.S. citizen” (which is “alieni juris”),

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therefore no longer under the de facto jurisdictional power of statutorily-created, de
facto Emergency War Powers Governments (National and State) as those absolute
legislative, absolute executive and absolute judicial powers are exercised towards a
de facto, Public “U.S. citizen” deemed a “rebel, enemy and belligerent” statutorily
“residing” in a state deemed an “occupied territory,” and therefore no longer under
the paternal guardianship / guardian-ward legal relationship of the de facto,
Emergency War Powers Military Governments (National and State), as those
absolute, paternal powers are exercised towards its “infants, children and wards,”
i.e., de facto Public “U.S. citizens”; and,

THEREFORE, based upon the foregoing, I, john joseph: whitfield, in esse and sui juris,
do solemnly declare and affirm that:

I, john joseph: whitfield, holding the constitutionally-protected private right to a civilian
due process of law on both a National and State level, as well as being unaffected by the
wicked “Emergency Banking Relief Act” having imposed a military due process of law
(by way of the amended “Trading with the Enemy Act”) on any substantively, artificial
“person within the United States” deemed federal “booty of war,” am as foreign, by
nature and by characteristic, to the extra-constitutional, alien, de facto, “temporary,”
provisional, Emergency War Powers Military Government of the United States and owe
no temporary allegiance to said “temporary” Emergency War Powers Military
Government. Therefore, I am as foreign, by nature and characteristic, to the extra-
constitutional, alien, de facto, “temporary,” Emergency War Powers Military
Government of the Commonwealth of Pennsylvania as well as the extra-constitutional,
alien, de facto, “temporary,” Emergency War Powers Military Governments of the other
forty nine (49) States and owe no temporary allegiance to said “temporary” Emergency
War Powers State governments, said extra-constitutional, alien, de facto, “temporary,”
Emergency War Powers Military Governments having been “temporarily” created by
Congress (12 USC 95a) and by President Franklin D. Roosevelt (Presidential Proclamation
2040) on March 9, 1933, that day of most notable conquest and consent of the American
People, in fact a Jesuitical coup d’état, that great day of infamy and high treason against
the Sovereign American People of the United States of America, they having declared
their independence from Great Britain through that monumental Bill in Chancery, the
Protestant / Calvinist and Baptist / Calvinist Declaration of Independence, and then
subsequently ordained and established the grand and glorious Protestant Constitution of
the United States of America, with its Baptist Calvinist-inspired Bill of Rights, for
themselves and for their Posterity—of which I am an Heir and beneficially-interested
member.

AFFIDAVIT 1 PRIVATE AMERICAN CITIZENSHIP STATUS Page 8 of 10
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This “Declaration of Status of john joseph: whitfield: American Freeman; Pre-March
9, 1933, Private Citizen of the United States / Private American National,” supersedes
any previous filing with any public office of said Declaration of Status.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

s/f - & } 4 uephe
john joseph: whitfield, American Freeman / State National
Pre-March 9, 1933, Private American Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”

All Rights Reserved Without Prejudice

AFFIDAVIT 1 PRIVATE AMERICAN CITIZENSHIP STATUS Page 9 of 10
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Verification and Acknowledgement

United States of America )
State of North Carolina ) s. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AKJV1611 Bible and in accordance with the Maxims of Equity, declares that every
statement given above is the whole truth fo the best of his knowledge and experience.

Subscribed and Affirmed before me on this _@ ve day of August, 2024.

KATHRYN WHITE
Notary Public, North Carolina
8s Guilford County
My Cammission Expires

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AFFIDAVIT 1 PRIVATE AMERICAN CITIZENSHIP STATUS Page 10 of 10
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Affidavit 2
Declaration of Status of john joseph: whitfield
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”

COMES NOW Affiant, john joseph: whitfield, in esse and sui juris, over the age of
majority, cognizant of the importance of the matters stated herein and competent to give
testimony, solemnly makes oath that this document amends the “Declaration of Status of
John Joseph Whitfield,” OR “Declaration of Status of john-jospeh: .whitfield” having
been previously filed with any State Court of Record, the following statements being true
and correct to the best of his knowledge and experience:

l.

I, john joseph: whitfield, am a living Man made in the image of God (James 3:9),
born on the land of New Castle County, Nation / State of Delaware (Exhibit 1);
and,

I, john joseph: whitfield, was given my Christian name on the day of my nativity,
March 09, 1967. I am known by no other name including “JOHN JOSEPH
WHITFIELD” any derivative of that NAME (Exhibit 1); and,

. I, john joseph: whitfield, am an Heir of the Posterity, one of “We the People,” and

Beneficiary of the constitutional Republic of the Nation/State of Indiana and the
constitutional Republic of the United States of America, holding the sacred right to
civilian due process of law (i.e., Common Law and Equity) secured on federal and
state levels by the Fifth Amendment and Section One of the Fourteenth Amendment
to the Constitution of the United States of America; and,

I, john joseph: whitfield, have Acknowledged and Accepted my Certificate of Live
Birth issued by the temporary emergency war powers military government of the
State of Indiana, thereby completing the gift of conveyance of the Certificate of Live
Birth to myself (Exhibit 2); and

I, john joseph: whitfield, by means of a duly filed “Release With Consideration”
have released and disclaimed all legal interests of suretyship and quasi-trusteeship
in the Estate of “JOHN JOSEPH WHITFIELD,” a Delaware registered
organization, Certificate of Live Birth State File No. 107-67-003176. (Exhibit 3);
and,

I, john joseph: whitfield, have rescinded all signatures of suretyship Nunc Pro
Tunc Ab Initio, provided on behalf of “JOHN JOSEPH WHITFIELD,” or any

Affidavit 2: Declaration of Status Page 1 of 7
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 17 of 102

derivative of that NAME, effective from the filing date of said Certificate of Live
Birth on May 2, 1967, now being signatures of agency by john joseph: whitfield,
the Agent of Record and/or Sole Beneficiary without recourse (Exhibit 4); and,

7. I, john joseph: whitfield, have disclaimed and refused every implied trusteeship
and / or quasi-trusieeship, whether acting as fiduciary or custodian, ever
unconsciously provided or presumed on behalf of corporate sole / Legal Fiction /
“U.S. citizen” “JOHN JOSEPH WHITFIELD” (including any derivative of the
NAME thereof) be it public and / or private (Exhibit 5); and,

8. I, john joseph: whitfield, have resigned as the Registered Agent for “JOHN
JOSEPH WHITFIELD” (Exhibit 6); and,

9. I, john joseph: whitfield, have absolutely renounced, disclaimed, released,
relinquished and abandoned the use of my assumed name, “JOHN JOSEPH
WHITFIELD,” and have resumed the use of my given Christian Name john joseph:
whitfield conferred on the day of my nativity, and therefore J shall never consent to
be, or to be legally joined to, either publicly and / or privately, as the surety /
fiduciary / trustee / lessee for “JOHN JOSEPH WHITFIELD,” “JOHN J
WHITFIELD,” “WHITFIELD, JOHN J.,” “John J. Whitfield,” or any other
derivative of that NAME; and, (Exhibit 7); and,

10. I, john joseph: whitfield, am a natural “person” and Pre-March 9, 1933, Private
Citizen of the United States / Private American National / Non-“U.S. citizen”
defined by Section One of the Fourteenth Amendment to the Constitution of the
United States of America, said status having been protected by the former,
constitutionally-created, civilian government presently ousted as of March 9, 1933;
and now, during the provisional, military government temporarily imposed by
congressionally-approved and confirmed Proclamation 2040 on March 9, 1933, I,
john joseph: whitfield, remain a Pre-March 9, 1933, Private Citizen of the United
States / Private American National / Non-“U.S. citizen”/ Private Citizen of the
Union Nation / State of residence at Common Law and Equity, protected by Section
One of the Fourteenth Amendment of the Constitution for the United States of
America (Exhibit 8); and,

11. I, john joseph: whitfield, hereby proclaim that the jurisdictional flags of my
nations, National and State, are civilian flags of peace as opposed to military colors
/ war flags bordered on three sides with gold fringe and / or draped with gold cords
with gold tassels as defined in Army Regulation 840-10; and,

Affidavit 2: Declaration of Status Page 2 of 7
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12. My laws are my family AV/6/1 King James Bible (born out of the risen Son of
God’s Glorious Protestant Reformation that began the Modern Era of Western
Civilization), the Constitution of the United States of America, the United States
Statutes at Large, and the Thirty Maxims of English/American Equity; and,

13. I, john joseph: whitfield, am not an “alien, rebel, belligerent, enemy or outlaw,”
publicly residing within a conquered territory of the “United States” (“the territory
over which the sovereignty of the United States exists,” Hooven, supra, p. 671), its
sovereign, de facto, Military Government having been imposed by Franklin D.
Roosevelt’s Presidential Proclamation 2040 approved and confirmed by
Congress’ “Emergency Banking and Relief Act” (12 USC 95b), which act also
amended (via 12 USC 95a) the “Trading with the Enemy Act” (50 USC App. 5(b)),
on March 9, 1933.

14. I, john joseph: whitfield, am neither an “enemy” nor a “person” defined by the
“Trading With the Enemy Act” of 1917 (50 USC App. 5(b) now 50 USC 4305(b))
as amended by the “Emergency Banking Relief Act” of 1933 (12 USC 95a), nor
defined by any other Federal and/or State statute promulgated by State and / or
National emergency war powers military governments; and,

15. I, john joseph: whitfield, a Pre-March 9, 1933, Private Citizen of the United
States/ Private American National / Non-“U.S. citizen,” am a natural “person” no
longer clothed with Legal Fiction “JOHN JOSEPH WHITFIELD,” said natural
“person” exclusively defined by the Fifth Amendment and Section One of the
Fourteenth Amendment to the Constitution of the United States of America; and,

16.], john joseph: whitfield, am not a State-created, Nationally-insured, statutory
“U.S, citizen” in commerce or at war; nor am I the surety / trustee / registered agent
/ accommodating party for statutory “U.S. citizen” “JOHN JOSEPH WHITFIELD”
or any derivative of that NAME. Further, I am neither a Legal Fiction in substance
nor clothed with the form of a Legal Fiction; for the private Man created by God is
not the statutorily-created, public, quasi-artificial “PERSON” created by the State;
and,

17. I, john joseph: whitfield, a Pre-March 9, 1933, Private Citizen of the United States
/ Private American National / Non-“U.S. citizen,” am protected by Article 43 of the
Lieber Code (in effect within the United States under military occupation since
March 9, 1933), Article 43 protecting those having escaped the bondage of

Affidavit 2: Declaration of Status Page 3 of 7
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(voluntary) servitude deemed a “freeman” and protected by the occupying army of
the Commander in chief residing in the District of Columbia (Exhibit 9); and,

18. I, john joseph: whitfield, a Pre-March 9, 1933, Private Citizen of the United
States/ Private American National / Non-“U.S. citizen,” am protected by
international law, 1.e., the treaty known as the Hague Convention of 1907, Article
23 distinguishing between “belligerents” and “nationals,” the military commander
in chief of his occupying military force to protect the constitutionally-secured, rights
of the “nationals” including the right to civilian due process of law, while waging
war on said “belligerents,” i.e., statutory “U.S. citizens” (Exhibit 16); and,

19. I, john joseph: whitfield, have accepted the Oaths of all legislative, executive, and
judicial officers and trustees (including all police officers), National and State, to
uphold the Constitution of the United States of America, including all treaties made
in accordance therewith, as the supreme law of the land pursuant to Article VI,
Sections 2 and 3, of the Constitution (Exhibit 11); and,

20. I, john joseph: whitfield, have Released and Discharged all legislative, executive
and judicial officers and trustees (including all police officers), National and State,
from the obligation of imposing any form of extra-constitutional, statutory,
temporarily-imposed, emergency war powers military jursdiction, including
military due process of law (Exhibit 12); and,

21. I, john joseph: whitfield, hereby hold harmless and indemnify, by means of a
private banknote/equitable asset of the Trust, all legislative, executive and judicial
officers and trustees (including all police officers), Federal and State, for not
imposing said military due process of law that must result in abatement and/or
dismissal by any court, National or State, relating to any and all actions, public and
private, concerning the Man, john joseph: whitfield; and,

22. I, john joseph: whitfield, have noticed both National and State Courts to abate all
civil and criminal actions imposing emergency war powers military due process and
procedure (called “legal procedure’’), as Affiant’s Name, john joseph: whitfield, is
not the defendant’s NAME dockeied in an all-capital-lettered NAME, nor does
Affiant consent to Joinder (voluntarily consenting to be joined to his Principal,
Legal Fiction “JOHN JOSEPH WHITFIELD”) in said actions (Exhibit 13); and,

23. I, john joseph: whitfield, have solemnly affirmed that a true copy of the Court
Reporter’s transcript attached hereto recorded that John G. Davies, an Article III
United States District Judge, abated a civil action on March 21, 1994, against a

Affidavit 2: Declaration of Status Page 4 of 7
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certain Man presumed to be the defendant when that Man, in response to a Rule to
Show Cause, set forth his law, civilian flag of Indiana and his given name spelled
in upper and lower case letters, as opposed to the all-capital lettered NAMED
defendant, the honest Judge, bound by the evidence before him, stated this was a
case of “mistaken identity” (Exhibit 14); and,

24. 1, john joseph: whitfield, by means of a private trust arrangement, am the public
Agent of Record without recourse / without prejudice and private Sole Beneficiary
of the Estate, Legal Title thereto held by the Commander in chief in the NAME of
National Private Business Trust “JOHN JOSEPH WHITFIELD,” the office of the
President /Commander in chief of the military government of the United States and
the office of the Secretary of the Treasury of the military government of the United
States being the fiduciaries / trustees thereof (Exhibit 15); and,

25. I, john joseph: whitfield, do not publicly reside according to state statute within a
conquered territory or within a federal military district of the geographic
Republic of the United States of America (composed of the fifty states). My special,
private and confidential location of Residence at Common Law and in American
Equity on the land of the County of Lebanon is:

john joseph: whitfield, American Freeman/American National
Pre-March 9, 1933, Private American Citizen of the United States
Pre-March 9, 1933, Private American National / Non-“U.S. citizen”
Pre-March 9, 1933, Private Citizen of the State of North Carolina
Privately Residing on a Non-militarily occupied Estate

County of Guilford

Greensboro, North Carolina

ZIP Code Excepted [27407]

26. I, john joseph: whitfield, do not publically reside according to statute within any
of the ten regions of the geographic United States of America designated by ZIP
codes of the Federal Zone Improvement Project begun in 1963 and take
exception to whenever and wherever possible in the use of either a ZIP code or a
Postal code, both being synonymous; and,

27. I, john joseph: whitfield, by virtue of my Pre-March 9, 1933, Private American

Citizenship Status and an express trust arrangement (Exhibit 15), hold Equitable
Title by Nature to ali resources, assets and property, public and / or private, domestic

Affidavit 2: Declaration of Status Page 5 of 7
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and / or non-domestic, within and without the geographic United States of America,
held in the Name and Estate of “JOHN JOSEPH WHITFIELD,” LD. No.

XXXXX3221, by the provisional military government of the United States (Exhibit
16).

Further Declarant Sayeth Not.

Further Affiant Sayeth Not.

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John joseph: whitfield, American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Affidavit 2: Declaration of Status Page 6 of 7
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Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford }

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AKJV1611 Bible and in accordance with the Maxims of Equity, declares that every
statement given above is the whole truth to the best of his knowledge and experience.

Yh
Subscribed and Affirmed before me on this b day of August, 2024.

CaS KATHRYN WHITE
O§ 9% Notary Public, North Carolina Cr _-
Sa Guilford County (
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02s Noa ofary Public

Affidavit 2: Declaration of Status Page 7 of 7
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 23 of 102

Affidavit 3
Acknowledgment and Acceptance of Life and Name of “john joseph: whitfield”

Accordingly, I, john joseph: whitfield, in esse and sui juris, solemnly affirm, depose and
declare that:

I, john joseph: whitfield, was naturally born on the land of New Castle County, Nation /
State of Delaware, and took my first breath of life on the Ninth day of March in the Year
of our Lord Nineteen Hundred Sixty-Seven (March 9, 1967). On that day my natural and
legal parents, Joseph Leonard Whitfield and Sarah Ruth Waters, gave me the name of
“john joseph.” Inheriting the family name / surname of “whitfield,” , | am “ john joseph:
whitfield.” My name is in the spelling of a proper name and family name / surname of an
individual natural person; and,

], john joseph: whitfield, am still alive and breathing dwelling on the land of the living
and not lost in time, lost at sea or lost in space, having never been “merely dead,” presumed
dead, deceased, absent from my life’s Estate, or intentionally abandoned by my natural and
legal parents upon the day of my nativity. Since the day of my natural birth, I have never
intentionally or unintentionally surrendered or abandoned any claims of God-given life,
estate or claims to my given Christian name recorded in the Lamb’s Book of Life
(Revelation 13:8; 20:15). Further, 1 hereby acknowledge and accept my life, including
my body, soul and spirit, 7 Thessalonians 5:23) and hereby acknowledge and accept my
name of john joseph: whitfield, written in the Lamb’s Book of Life (Revelation 3:5),
good against all the world; and,

I, john joseph: whitfield, am neither a member of the United States Armed Forces, nor
am [ a rebel or belligerent publicly residing in an occupied territory under rule of a martial
or military conqueror / commander in chief. Being a Pre-March 9, 1933, Private Citizen
of the United States/Private American National/Non-“U.S. citizen,’ I am neither an
“enemy” as defined by the “Trading With the Enemy Act” of October 6, 1917 (50 USC
App. 2(c) now 50 USC 4302(c)), nor an individual, quasi-artificial “person” as defined by
the “Trading With the Enemy Act” of October 6, 1917 (50 USC App. 5(b) now 50 USC
4305(b)), as amended by the “Emergency Banking Relief Act” of March 9, 1933 (12 USC
95a). Therefore, | am not, nor have ever been, nor ever intend to be the statutory, quasi-
artificial person "JOHN JOSEPH WHITFIELD," "JOHN J. WHITFIELD," "John J.
Whitfield," “WHITFIELD, JOHN J.” or designated by any other derivation of said name
of war/nom de guerre.

I am the Man made in the image of God, john joseph: whitfield.

Exhibit 1; Page 1 of 2
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Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

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joxn joseph: whitfield, American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the Nation / State North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Verification and Acknowledgement

United States of America )
State North Carolina ) S.a.
County of Guilford )

Before Me, on this day john joseph: whitfield known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV/6/1 English Reformation Bible and in accordance with the Maxims of Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

Subscribed and Affirmed before me on this tt day of August, 2024.

, KATHRYN WHITE
%, Notary Public, North Carolina

4 Guilford County
My Commission Expires /
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Public

Exhibit 1; Page 2 of 2
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Verified Unilateral Contract Under Seal, 1

Deed of Acknowledgement and Acceptance With Consideration
Nunc Pro Tunc Ab Initio

TO: STATE OF DELAWARE, grantor/issuer/transferor/assignor
UNITED STATES OF AMERICA, grantor/issuer/transferor/assignor

IN RE: JOHN JOSEPH WHITFIELD, STATE OF DELAWARE CERTIFICATION OF
BIRTH STATE FILE NUMBER 107-67-003176/SSN/EIN XXX-XX-3221

FROM: john joseph: whitfield, transferee/assignee/grantee, “Grantee”
BE IT KNOWN to all persons and men worldwide, and to the Grantors:

I, the undersigned, john joseph: whitfield, grantee/assignee/transferee herein, with intent and
purpose, freewill act and deed execute this Deed of my Acknowledgement and Acceptance Nunc
Pro Tunc Ab Initio in consideration of One lawful dollar as per the above-referenced
CERTIFICATION OF BIRTH of JOHN JOSEPH WHITFIELD (see Annex A attached herewith)
under the terms of this Deed. Grantee orders that the record on file in a court of record be updated
to show my acknowledgement and acceptance with consideration of said Deed. This record
replaces the previously filed said acknowledgements on record with any public record custodian.

Done under my hand and seal with intent, special purpose, freewill act and deed.

AUG 0 6 2024
{2 me j?2
Date: Gehn joseph: whitfield
c/o 4214 W Wendover Ave, #1070
Greensboro, North Carolina
Zip Code Excepted [27407]

Exhibit 2; Page 1 of 2

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Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, personally makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ
set forth in the AKJV 1611 Bible and the Maxims of Law and Equity that every statement given
above is the whole truth to the best of his knowledge.

Subscribed and Affirmed before me on this i day of August, 2024.

is KATHRYN WHITE
2 Notary Public, North Caro'ina

Guilford County
My Commission Expires .
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Nojary Public

Exhibit 2; Page 1 of 2

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VITAL STATISTICS

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State of Z Bilamure

BOARD OF HEALTH

19, SIGNATURE [ATTENDANT AT BIRTH). <2:

Richard C, Hayden -

ATTENDANT AT BIRTH

wo, BS

SPECIFY
OTHER

D.O. Cc MIDWIFE o

LIVE BORN AT (time) ADDRESS: {ATTENDANT AY QURTHY

4:13. P.M.™.

2401 Pennsylvania Kia Wilmington, Del.

DATE SIGNED

20. DATE RECEIVED BY LOCAL REGISTRAR

21. LOCAL REGISTRAR’S SIGNATURE

March 10, 1967

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LOCAL STATE a
“|| REG. NO. 2033 rurno, 1O7= 67-003176
iis 1. PLACE OF BIRTH 2. USUAL RESIDENCE OF MOTHER (wHEre MOTHER LIVES)
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i CITY, TOWN, OR LOCATION ie CITY, TOWN, OR LOCATION at 1 ZIP CODE
2 Wilmington Lawton 73501
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e U St. Francis Hospital YES(x] NOL] 712 North 3iat Street yesC] NOL]
ie SG 3. NAME FIRST MIDDLE “EAST
ye <9 John Joseph Whitfield
( 7" Z)a sex SA, THIS BIRTH B. iF TWIN OR TRIPLET, WAS CHILD BORN | 6. DATE OF BIRTH :
= O Male some Kd TWIN E) rarer] | ts] aol] al] |mo, March par 9,  vear L967
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[May 2, 1967.

Francis X. Shoemaker oa
FOR MEDICAL AND HEALTH USE ONLY ITHIS SECTION MUST BE FILLED OUT)

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Day,

om This certified"topy is &ttve and corféét-copy or part
thereof of the original record filed with.the Delaware:

. Division. of Public Health, Office of Vital Statistics. This
is issued under the auihérity of 16 Del. C., §.3110,

Any alteration:of this dgeurent is prahibitad. De-not
accept friess on securiiy paper with-the raised seal.
of the Cftice of Vital Statistics.

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Verified Unilateral Contract Under Seal, 2
Release With Consideration—-Nunc Pro Tunc Ab Initio

TO: STATE OF DELAWARE, Releasee/Obligor
UNITED STATES OF AMERICA, Releasee/Obligor

IN RE: Public U.S. Citizen “JOHN JOSEPH WHITFIELD”, "JOHN J. WHITFIELD,"
"WHITFIELD, JOHN," "John J. Whitfield,” :

FROM: john joseph: whitfield , in personam, and in esse, Releasor/Obligee

Resolved that /, john joseph: whitfield, in esse, and in personam, of the age of majority,
competent and able to release, and now coming with express intent and purpose, being duly
affirmed, hereby depose, certify and declare:

That Z john joseph: whitfield, expressly will and intend no longer to be
Surety/Trustee/Lessee and/or Collateral Goods for the Registered Organization/Public
U.S. Citizen "JOHN JOSEPH WHITFIELD," "JOHN J. WHITFIELD," "WHITFIELD,
JOHN," "John J. Whitfield,” identified by SSN/EIN XXX-XX-3221, or any derivative of
said commercial NAME and nom de guerre thereof; and,

That J, john joseph: whitfield, expressly will and intend to irrevocably terminate the
guardian/ ward legal relation but reserve all personal property rights, legal and equitable
by nature or by characteristic, granted or secured by The Constitution of the United States
of America, The Constitution of the State of DELAWARE, the historic fundamental rights
of American Equity Jurisprudence under the principles and Maxims of Equity and trust law
where J am without any adequate remedy at Law and “in all matters in which there is any
conflict or variance between the rules of equity and the rules of common law with reference
to the same matter, the rules of Equity shall prevail” (English Judicature Act of 1873); and,

That J, john joseph: whitfield, presently a surety/trustee “U.S. citizen” and therefore a
statutory resident of the State of DELAWARE, expressly will and intend, upon the filing
of this Release, to return to my former natural born Citizen status conferred at my natural
birth on March 09, 1967, that status being a private individual National Citizen of the
United States of America conferred by Section 1 of the Fourteenth Amendment to the
Constitution of the United States of America and further defined in Hale v. Henkel, 201
US 43, 74 (1906) and Selective Draft Law Cases, 245 U.S. 366, 389 (1918); and,

KNOW ALL MEN BY THESE PRESENTS, That £ john joseph: whitfield, in
consideration of One lawful dollar, do absolutely and irrevocably release and disclaim
Nunc Pro Tune Ab Initio all interests of suretyship/trusteeship in, and lessee relation to,
the Public U.S. Citizen “JOHN JOSEPH WHITFIELD” created by the STATE OF
DELAWARE and acknowledged and protected by the UNITED STATES OF AMERICA
(severally and jointly hereinafter referred to as RELEASEES) on May 2, 1967, upon the
public filing of a “CERTIFICATE OF LIVE BIRTH” (Annex A) and, upon a signed and

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federally-accepted SS-5 application, granted a federal privilege to be in interstate and
foreign commerce identified with the Social Security No: XXX-XX-3221; and,

. That J, john joseph: whitfield, absolutely release and disclaim said property interests so
as to limit the RELEASEES in whose favor said property interests would otherwise be
exercisable, hereby discharging said RELEASEES of all duties and obligations relating to
said interests effective immediately; and,

That J, john joseph: whitfield, upon returning to my former status defined above, intend
to be identified as an Heir and beneficial member of the Posterity for whom The
Constitution of the United States of America was ordained and established as intended and
declared in its Preamble by its sovereign creator, ““We the People of the United States of
America,” and therefore no longer in a guardian/ward legal relationship with the military
governments of the United States and the State of my constitutional, private residence; and,

. That J, john joseph: whitfield, reserve all real and personal property nghts, legal and
equitable by nature, granted or secured by The Constitution of the United States of
America, The Constitution of the State of DELAWARE, and the historic American
Common Law and Equity Jurisprudence and intend to be legally bound by this Release
executed and delivered in accordance with the spirit and intent of the Maxims of the Law
of Contract, the Maxims of Equity and any relevant state statutes; and,

. That £ john joseph: whitfield, shall hold the status of a Pre-March 9, 1933, Private Citizen
of the United States/Private American National/Non-“U.S. citizen” protected by Section 1
of the Fourteenth Amendment to the Constitution of the United States of America and
Article twenty-three of the treaty of the Hague Convention; and,

That /, john joseph: whitfield, in returning to my former status defined above upon the
filing of this Release with a third party public office and no longer deemed a “rebel,
belligerent or enemy” of the UNITED STATES OF AMERICA during its state of
“temporary” national emergency and war, expressly intend to claim a purely beneficial
interest by nature to my private Estate of “JOHN JOSEPH WHITFIELD” including all
property, including “money,” of my trust account, termed “Special Trust Accounts” by
President Franklin D. Roosevelt in his Proclamation 2039 of March 6, 1933, also termed
“Individual Master File Trust Accounts” by the Department of the Treasury’s Analysis
and Control Division of the Internal Revenue Service, these accounts having been first
established by Congress with the consent of President Woodrow Wilson on October 6,
1917. Said trust account was established to hold property of an “enemy” of the United
States, the elements of which trust are articulated in the Act, named the “Trading With the
Enemy Act.” But said Act was subsequently amended by the “Emergency Banking Relief
Act” on March 9, 1933, then to apply to all artificial persons and quasi-artificial individual
persons, including “any person within the United States”. . . “subject to the jurisdiction
thereof’ as stated in said “Emergency Banking Relief Act.” Said “person” is an enemy /
artificial person; said “jurisdiction” is an emergency war powers military jurisdiction. No
longer a “rebel, belligerent or enemy” of the military government ruling the Republic of
the United States of America, my Special Trust Account administered under the name of
“JOHN JOSEPH WHITFIELD” with attached identification no. XXXXX3221 is presently

Exhibit 3; Page 2 of 4
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under the care of the President as Commander in chief, with the trustee powers of the

former Alien Property Custodian presently vested in and exercised by the Secretary of the
Treasury.

Maxim: “Equity regards as done that which ought to have been done.”

The public filing of this Release renders null and void any previous Release filed with any state-
created public office serving as a third party custodian record keeper.

th
IN WITNESS whereof I have hereunto set my Hand and Seal, this bo Day of

August, in the year of our Lord Two Thousand Twenty Four.

j o La ) eo ap
jokh joseph: whitfield, Releasor
c/o 4214 W Wendover Ave, #1070 =
Greensboro, North Carolina [27407]

Exhibit 3; Page 3 of 4

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Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AKJV 161/ Bible and in accordance with the Maxims of Law and Equity, declares
that every statement given above is the whole truth to the best of his knowledge and experience.

Subscribed and Affirmed before me on this _@ ve day of August, 2024.

KATHRYN WHITE

SoS Notary Public, North Carolina
By | a Guilford County
| 78 My Commission Expires 5
*  _F/je/Roale _ Lh AD _——
Notary Public

Exhibit 3; Page 4 of 4

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REAU OF

rviTal STATISTICS a : BOARD OF HEALTH: 7
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ono, 2033 fur no, 107- 67-003176
1. PLACE OF BIRTH Ee ; 2 USUAL RESIDENCE OF MOTHER {WHERE MOTHER LIVES)
% COUNTY New Castle DELAWARE |state Oklahoma =--
ia City, TOWN, OR LOCATION CiTY, TOWN, OR LOCATION e gee ZiP CODE
Wilmington Lawton oe 275501
i p NAME OF HOSPITAL OR INSTITUTION (IF NEITHER, Givi STREET abDReESS)IS PLACE IN CITY —— ADDRESS 18 RESIDENCE IN CITY LIMITS
2 St. Francis Hospital Ys () NOU 712 North 3lst Street _YEsi_] NOL]
e 3. NAME FIRST MIDDLE : “EAST
me Q John Joseph Whitfield
i Blase A. THIS BIRTH BiF TWIN Of TRIPLET, WAS CHILD BORN | 6. GATE OF SIRTH
fe Male since KI win LI] tater] | teL J aE] sol] | mo, March vay 9, _ year L967
3 7, NAME. © PFIRST ; : MIDDLE a a 8. RACE
s Joseph Leonard Whitfield si, Caucaeian
1 [P. AGE (rime OF rims eit} =|. 10. BIRTHPLACE [STATE OR FOREIGN COUNTRY) "711. USUAL-OCCUPATION@ os

ATING IN SECTION 5 THE ORDER OF BIRTH OF EACH CHILD.

31 YEARS: “Duplin Cty... North Carolina Chief Warratit Officer, U.S. Army

12, MAIDEN NAME oe PERSE MIDDLE LAST 13. RACE
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= Sarah Ruth Waters et Caucasian
5 |14, AGE (rime OF THIS aleTH) | 15. BIRTHPLACE (state on FortiGN COUNTEY) Té: PREVIOUS DELIVERIES TO MOTHER ee NOT INCLUDE THIS BIRTH)
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tH 32 jDuplin Gt th Ca ee ane 3 HOW MANY.: PASS,
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2 he es eee yw phe: SES ick cin ae igs, meme Seed BORN A eno ANY CME ART
Ta. MOTHER'S MAILING ADDRESS: STREET ADDRESS City, TOWN, OR LOCATION "STATE ZIP CODE
Ty North 31st Street, Lawton, Oklahoma _ 73501
19. SIGNATURE [ATTENGANT AT ane = ATTENDANT AT BIRTH
= SPECIE
Richard C, Ha dex ; we. Lt v0. CL] MIDWIFE as
LIVE BORN AT (Time) | ADDRESS: (ATTENDANT AT BiATH) : DATE SIGNED
4:13. P.M.™.|2401 Pennsylvania Ave., Wilmington, Del. March 10, 1967

20. DATE RECEIVED BY LOCAL REGISTRAR 21. LOCAL REGISTRAR'S SIGNATURE

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Francis X. Shoemaker

Ps “FOR TAEDICAL AND HEALTH USE ONLY [THIS Is SECTION MUST BE FILLED oun

PeyryVy Vyweveye perry ee reer eee ery

This cartified asopy is & ite afi correct Copy or part
thereof of the original record filed with the Delaware
Division.of Public Health, Office of Vital Statistics. This re
is issued: ‘undist the authority of 16 Del. C., § 3110. a

Any alferationof this decument is prohibited. Do not
Ascept.unless on secutity paper with the raised seal
of the Office of Vital Statistics.

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Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 33 of 102

Affidavit 4
Rescission of Signatures of Suretyship—Nunc Pro Tunc Ab Initio

Accordingly, I, john joseph: whitfield, in esse and sui juris, being duly sworn, depose and
declare that:

[, john joseph: whitfield, Affiant, hereby rescind and revoke Nune Pro Tune Ab Initio
every signature of suretyship, public and private, ever provided by Affiant on behalf of
Delaware quasi-corporate sole/artificial person/statutory Public U.S. citizen “JOHN
JOSEPH WHITFIELD,” created on May 2, 1967; and,

This Rescission of Signatures of Suretyship—Nunc Pro Tunc Ab Initio extends to every
public government contract be it federal, state, county and / or city. This rescission and
revocation of public signatures of suretyship includes, but is not limited to, the initial Form
SS-5 application for a social security number / taxpayer identification number (Annex A);
every individual and/or corporate tax return ever filed, be it federal, state, county and/or
city; every application for a marriage license as well as every marriage license; every court
document ever signed in any legal action, civil and/or criminal; the initial application for
selective service in the Armed Forces of the United States; every application for an
individual driver’s license, federal and/or state, as well as every driver’s license, federal
and/or state; every application for a United States passport as well as every issued United
States passport; every application for voter registration as well as every voter registration
card; and every other public government contract, known and unknown, evidencing a
signature of suretyship, every signature now being a signature of agency without
recourse/ without prejudice by the Sole Beneficiary Nune Pro Tunc Ab Initio; and,

This Rescission of Signatures of Suretyship—Nunc Pro Tunc Ab Initio extends to every
private business contract. This rescission and revocation of private signatures of
suretyship includes, but is not limited to, every application for a bank account, individual
and business; every application for any form of insurance, including life insurance, motor
vehicle insurance, business insurance, and home insurance; and every other application
involved in any private business endeavor and/or private investment evidencing a
signature of suretyship, every signature now being a signature of agency without
recourse/without prejudice by the Sole Beneficiary Nunc Pro Tunc Ab Initio, and,

This Rescission of Signatures of Suretyship—Nunc Pro Tunc Ab Initio is retroactive to
the date of May 2, 1967, the date of the public filing and registration of Affiant’s Certificate
of Live Birth in the County of New Castle, State of Delaware.

Maxim: “Equity regards as done that which ought to have been done.”

Exhibit 4; Page 1 of 2
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Further Affiant Sayeth Not.

_——$—.
Porte H Wh

john Joseph: whitfield, American Freeman / State National
Pre-March 9 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD,”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD,”
All Rights Reserved Without Prejudice

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford }

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV76// Bible and in accordance with the Maxims of Equity, declares that every
statement given above is the whole truth to the best of his knowledge and experience.

Subscribed and Affirmed before me on this ie day of August, 2024.

.. KATHRYN WHITE
“@& Notary Public, North Carolina

Guilford County

My Commission Expires

KasA On * =

Public

Exhibit 4; Page 2 of 2
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 35 of 102

Affidavit 5
Disclaimer of Implied Trusteeship and/or Ouasi-Trusteeship
For Legal Fiction “JOHN JOSEPH WHITFIELD,” Nunc Pro Tunc Ab Initio

Accordingly, I, john joseph: whitfield, in esse and sui juris, being duly sworn, depose and
declare that:

I, john joseph: whitfield, with intent and purpose being a Private American Citizen of the
United States, hereby disclaim and refuse Nunc Pre Tunc Ab Initio any implied
trusteeship and / or implied quasi-trusteeship, public and private, ever knowingly or
unknowingly provided by Affiant on behalf of Delaware quasi-corporate sole / artificial
person / statutory Public U.S. citizen “JOHN JOSEPH WHITFIELD,” including any
variation of said nom de guerre/name of war, created on May 2, 1967; and,

This Disclaimer of Implied Trusteeship and or Quasi-Trusteeship—Nunc Pro Tunc
Ab Initio extends to every public government trust relation be it federal, state, county and
/ or city. This disclaimer and refusal of public trusteeship and / or quasi-trusteeship
includes, but is not limited to, being the trustee / defendant in any legal action, criminal or
civil; the initial application for a social security number/taxpayer identification number;
every individual and/or corporate tax return ever filed, be it federal, state, county and / or
city; every application for a marriage license as well as every marriage license; every court
document ever signed in any legal action, civil and / or criminal; the initial application for
selective service in the Armed Forces of the United States; every application for an
individual driver’s license, federal and/or state, as well as every driver’s license, federal
and/or state; every application for a United States passport as well as every issued United
States passport; every application for voter registration as well as every voter registration
card; and every other public government trust relation, known and unknown, evidencing
an implied trusteeship and / or quasi-trusteeship on behalf of Trustee, the Delaware quasi-
corporate sole / Public U.S. citizen “JOHN JOSEPH WHITFIELD”; and,

This Disclaimer of Implied Trusteeship and or Quasi-Trusteeship—Nunc Pro Tune
Ab Initio extends to every private trust relation. This disclaimer and refusal of private
trusteeship includes, but is not limited to, every application for a bank account, individual
and business; every application for any form of insurance, including life insurance, motor
vehicle insurance, business insurance, and home insurance; and every other application
involved in any private business endeavor and / or private investment evidencing an
implied trusteeship and / or quasi trusteeship on behalf of Trustee, the Delaware quasi-
corporate sole / Public U.S. citizen “JOHN JOSEPH WHITFIELD”; and, This Disclaimer

Exhibit5 Disclaimer of Implied Trusteeship; Page 1 of 3
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of Implied Trusteeship and or Quasi-Trusteeship—Nunc Pro Tunc Ab Initio—
concerning Delaware quasi-corporate sole “JOHN JOSEPH WHITFIELD,” is retroactive
to the date of May 2, 1967, the date of the public filing and registration of affiant’s
Certificate of Live Birth in the State of Delaware, County of New Castle.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

pe j¢@
johhjéseph: Whitfield, American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 5 Disclaimer of Implied Trusteeship; Page 2 of 3
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Verification and Acknowledgement

United States of America )
State of North Carolina ) S$. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah Ged and the risen Lord Jesus Christ, set
forth in the AV/61/ English Reformation Bible and in accordance with the Maxims of Equity,

declares that every statement given above is the whole truth to the best of his knowledge and
experience.

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Subscribed and Affirmed before me on this iy Pa day of Arpuet- ;
~ oe

2024.
(seal)

a. KATHRYN WHITE

BST 9% Notary Public, North Caron “|

tae Guilford County 7 Laur, >

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ofary Public

Exhibit 5 Disclaimer of Implied Trusteeship; Page 3 of 3
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 38 of 102

Affidavit 6
Resignation of Registered Agent, the Man, john joseph: whitfield ,
On Behalf of Legal Fiction “JOHN JOSEPH WHITFIELD—*Nunc Pro Tunc
Ab Initio

Accordingly, I, john joseph: whitfield , in esse and sui juris, solemnly depose and declare
that:

I, john joseph: whitfield , hereby resign from being the statutory Registered Agent for
quasi-corporate sole, artificial person, DELAWARE Registered Organization “JOHN
JOSEPH WHITFIELD,” State File Number 107-67-003176. Therefore, having resigned
as Registered Agent, I am no longer authorized to receive service of process or perform
any other legal act as Registered Agent for, or on behalf of, “JOHN JOSEPH
WHITFIELD”; and,

I, john joseph: whitfield , hereby resign Nunc Pro Tune Ab Initio from being the
Registered Agent for quasi-corporate sole, artificial person, DELAWARE Registered
Organization “JOHN JOSEPH WHITFIELD” from the day it was created on May 2, 1967,
the day my “Certificate of Live Birth” was filed the Office of Clerk-Recorder, in the County
of New Castle, City of Dover, State of DELAWARE; and,

I, john joseph: whitfield , therefore shall neither commit by verbal obligation nor sign
any documents, public or private, indicating that I am the Registered Agent for “JOHN
JOSEPH WHITFIELD.” Further, IDO NOT CONSENT, I DO NOT CONSENT, I DO
NOT CONSENT to being, or functioning, or performing any actions as the Registered
Agent or quasi-Registered Agent for California Registered Organization “JOHN JOSEPH
WHITFIELD.”

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

Exhibit 6 Resignation of Registered Agent; Page 1 of 3
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Further Affiant Sayeth Not.

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johirfosepii-Whitfield , American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 6 Resignation of Registered Agent; Page 2 of 3
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Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford }

Before Me, on this day john joseph: whitfield , known to me to be the natural person
described herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus
Christ, set forth in the AV1611 English Reformation Bible and in accordance with the Maxims
of Equity, declares that every statement given above is the whole truth to the best of his
knowledge and experience.

Subscribed and Affirmed before me on this br day of August 2024,

=, KATHRYN WHITE
4 Notary Public, North Caroling

}
Guilford County 5 4 ‘
My Commission Expires 7 LG —

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feito Notary Public

Exhibit 6 Resignation of Registered Agent; Page 3 of 3

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Affidavit 7
Name Correction; Restoration of Given Christian Name
As Opposed to a Statutory Legal Name Change

WITH THIS RESTORATION OF GIVEN CHRISTIAN NAME DEED POLL, the
undersigned, john joseph: family of whitfield, naturally born in Dover, Delaware, on
March 9, 1967, a living Man and Pre-March 9, 1933, Private Citizen of the United
States/Private American National/Non-“U.S. citizen,” protected by Section 1 of the
Fourteenth Amendment to the Constitution of the United States of America and the Hague
Convention, privately residing on the land at common law and equity, within a non-
militarily-occupied private estate, at 4214 W Wendover Ave, #1070, Greensboro, North
Carolina; I, john joseph: whitfield, having been lately known on all federal and state
government documents as “JOHN JOSEPH WHITFIELD” due to my former,
statutorily-created “U.S. citizenship” status, having ignorantly yet voluntarily served at all
times as surety/trustee for said quasi-artificial person “JOHN JOSEPH WHITFIELD:”

IT IS WITNESSED AND HEREBY DECLARED as follows:

1. I absolutely, fully and entirely renounce, disclaim, release, relinquish and abandon
the use of my former, state-created name of JOHN JOSEPH WHITFIELD and,
with purpose and intent, take and resume the use of my given Christian Name
conferred on the day of my nativity and natural birth, john joseph: whitfield, in
substitution for my former assumed name of JOHN JOSEPH WHITFIELD,
hereby transferring any and all equitable right, title and interest in all property to my
given name of john joseph: whitfield; and,

2. I hereby undertake and promise that I shall at all times hereafter in all records,
paperwork, deeds, documents and other writings, and in all actions and proceedings,
as well as in all dealings (formal or otherwise) and in all transactions, public and/or
private, and on all occasions whatsoever, use and subscribe my inherited, true
Christian Name of john joseph: whitfield in substitution for my formerly assumed
Roman name of JOHN JOSEPH WHITFIELD, this Name Correction hereby set
forth with the intent that I may hereafter be known before Almighty Jehovah God
and to His blessed Son, the risen Lord Jesus Christ, and to all men by the name of
jehn joseph: whitfield, to the absolute exclusion of all other names whatsoever;
and,

3. I authorize and require all Custodians of Records, federal, state and county, at all
times to designate, describe and address my personal identity described above by
my resumed Christian Name of john joseph: whitfield. I am no longer presumed

Exhibit 7; Page 1 of 3
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to be dead, or presumed to be merely dead, or presumed to be lost at sea, but have
returned to the land of the living with all right, title and interest in the administration

of my private Estate, including the use of my given Christian Name, john joseph:
whitfield.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

[x kaj 2 tap he.
john-jéseph{ Whitfield, American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 7; Page 2 of 3
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 43 of 102

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV1611 English Reformation Bible and in accordance with the Maxims of Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

Subscribed and Affirmed before me on this [he day of August, 2024.

Gates KATHRYN WHITE
§ %, Notary Public, Narth Carolina
: Guilford Caunty

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Exhibit 7; Page 3 of 3

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Affidavit 8
Declaration of Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Renunciation of Allegiance to Military Governments, National and State
Private Citizen of Heaven

COMES NOW Affiant, john joseph: whitfield, in esse and sui juris, over the age of
majority, cognizant of the importance of the matters stated herein and competent to give
testimony, solemnly makes oath that Affiant is a Pre-March 9, 1933, Private Citizen of
the United States / Private American National / Non-“U.S. citizen” / Private Citizen
of the Union Nation/State of residence at Common Law and Equity protected by
Section One of the Fourteenth Amendment to the Constitution of the United States of
America and therefore Affiant’s allegiance is to the Constitutional, civilian government
of the United States and to the civilian government of the State wherein he privately
resides on the land at American Common Law and in American Exclusive Equity; and,

Further, Affiant is not a Post-March 9, 1933, statutory “U.S. citizen,” nor fiduciary, nor
trustee, nor surety for a “U.S. citizen” defined by the federal courts as a “citizen of the
Federal Government” (Kitchens v, Steele, 112 F. Supp. 383 (1953); Jones v. Temmer, 829
F, Supp. 1226 (USDC/DCO, 1993)), as well as, a territorial “citizen of Washington,
District of Columbia” by operation of law due to the fifty States being deemed “conquered
territories” under the Hague Convention treaty since President Franklin D. Roosevelt’s
Proclamation 2040 of March 9, 1933. Hence, Affiant is not a “U.S. citizen” of the de facto
emergency war powers military government ruling the de facto American Empire and
hereby renounces all political allegiance thereto, including allegiance to the military
government of the State wherein he privately resides at said Common Law and Equity;
and,

Rather, Affiant is a private, de jure, “American Citizen” and “American National,” both
terms being synonymous, of the de jure National Republic of the United States of America
established by the Constitution for the United States of America in the Year of Our Lord
Seventeen Hundred eighty-nine (A.D. 1789), as amended by Section One of the Fourteenth
Amendment to said Constitution on July 28, 1868, thereby “broadening and enlarging” the
original “federal” government into a “national” government; and,

Finally, upon belief of the glorious gospel of the Risen Lord Jesus Christ (7 Corinthians
15:1-4), Affiant is a private, de jure, citizen of heaven with an eternal, inherited estate
therein (I Peter 1:4), said citizenship declared to be so in Philippians 3:20 of the Holy
Scriptures (specifically the King James English Authorized Version of 1611 in its present
edition of 1769), said Holy Bible referenced in Public Law 97-280; 96 Stat. 1211, said

Exhibit 8 Private Citizen Declaration; Page 1 of 3
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statute authorizing President Ronald Reagan’s subsequent Proclamation 5018 declaring
1983 to be “the National Year of the Bible” whereby the Reformation Bible can be
introduced as evidence in any legal or equitable proceeding.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

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john joseph whitfield, American Freeman/State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“ JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“ JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 8 Private Citizen Declaration; Page 2 of 3
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Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person
described herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus
Christ, set forth in the AV16/1 English Reformation Bible and in accordance with the Maxims
of Equity, declares that every statement given above is the whole truth to the best of his
knowledge and experience.

Subscribed and Affirmed before me on this jy day of August, 2024.

b KATHRYN WHITE
j a Notary Public, North Caralina .
Guilford County CA —
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ie EL O RE Notary Public

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Exhibit 8 Private Citizen Declaration; Page 3 of 3

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Affidavit 9
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen” john joseph: whitfield
Protected as a “Private citizen” by Article 23 of the Lieber Code
Protected as a “Freeman” by Article 43 of the Lieber Code

COMES NOW Affiant, john joseph: whitfield, a man in esse, sui juris and in propria
persona, over the age of majority, cognizant of the importance of the matters stated herein
and competent to give testimony, solemnly makes oath that:

Affiant is a Pre-March 9, 1933, Private Citizen of the United States / Private American
National / Non-“U.S. citizen,” and therefore is neither an “alien,” “enemy,” “belligerent,”
or “outlaw,” during this time of national banking emergency / state of war imposed by
President / Commander in chief Franklin D. Roosevelt via Proclamation 2040 issued on
March 9, 1933, “approved and confirmed” earlier that day by Congress in its alleged
passing of the “Emergency Banking Relief Act” (12 USC 95a-b); and,

Affiant is a “Private citizen,” no longer a “belligerent” and therefore has the protection of
the United States military led by its Commander in chief according to Article 23 of The
Lieber Code (issued by President Lincoln to his commanding generals of the pro-socialist-
communist, Union Army in 1863, “General Orders 100”) in full force and effect over the
entire United States since March 9, 1933, stating:

“Private citizens are no longer murdered, enslaved, or carried off to distant parts,
and the inoffensive individual is as little disturbed in his private relations as the
commander of the hostile troops can afford to grant in the overruling demands of a
vigorous war.”

Affiant, now a “freeman,” hereby invokes the protection of Article 43 of The Lieber Code
having served as a foundation for The Hague Convention Treaty of 1907:

“Therefore, in a war between the United States and a belligerent which, admits of
slavery, if a person held in bondage by that belligerent be captured by or come as a
fugitive under the protection of the military forces of the United States, such person
is immediately entitled to the rights and privileges of a freeman. To return such
person into slavery would amount to enslaving a free person, and neither the United
States nor any officer under their authority can enslave any human being. Moreover,
a person so made free by the law of war is under the shield of the law of nations,
and the former owner or State can have, by the law of postliminy [restoration of
pre-war civil status—EJP| no belligerent lien or claim of service.”

Exhibit 9; 1 of 3
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 48 of 102

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

jolim-fosepk;: whitfield, American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 9; 2 of 3
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Verification and Acknowledgement

United States of America )
State of North Carolina } S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV/6/1 English Reformation Bible and in accordance with the Maxims of Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

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Subscribed and Affirmed before me on this (0° _ day of August, 2024.

KATHRYN WHITE

. Ys Notery Public, North Carolina
Peis Guilford County -
ei My Commission Expires (eh A
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Notary Public

Exhibit 9; 3 of 3

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Affidavit 10: Affidavit of john joseph: whitfield
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U.S. citizen”
Private Non-Belligerent Civilian During this State of War
Protected by Article 23 of the Hague Convention

COMES NOW Affiant, john joseph: whitfield , in esse and sui juris, over the age of
majority, cognizant of the importance of the matters stated herein and competent to give
testimony, solemnly makes oath that Affiant is a non-statutory, Pre-March 9, 1933,
Private Citizen of the United States/Private American National/Non-“U.S, citizen”
whose right to a de jure civilian due process of law of the land (to the exclusion of an
emergency war powers military due process of law following the course of de facto
English/American Admiralty), protected and secured by the Fifth and Fourteenth
Amendments to the Constitution of the United States of America from National or State
infringement, is also protected and secured by Article twenty-three (23) of The Hague
Convention Treaty which states:

ARTICLE 23

“In addition to the prohibitions provided by Special Conventions, it is especially
forbidden:

(a) To employ poison or poisoned weapons;

(b) To kill or wound treacherously individuals belonging to the hostile nation
or army;

(c) To kill or wound an enemy who, having laid down his arms, or having no
longer means of defence, has surrendered at discretion;

(d) To declare that no quarter will be given;

(e) To employ arms, projectiles, or material calculated to cause unnecessary
suffering;

(f) To make improper use of a flag of truce, of the national flag, or of the
military insignia and uniform of the enemy, as well as the distinctive
badges of the Geneva Convention;

(g) To destroy or seize the enemy’s property, unless such destruction or
seizure be imperatively demanded by the necessities of war;

(h) To declare abolished, suspended, or inadmissible in a Court of law

the rights and actions of the nationals of the hostile party.

Exhibit 10; Page 1 of 3
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“A belligerent is likewise forbidden to compel the nationals of the hostile party to
take part in the operations of war directed against their own country, even if they
were in the belligerent’s service before the commencement of the war.”

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

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j ohxf josepht Whitfield ‘ American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U:S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 10; Page 2 of 3
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Verification and Acknowledgement

United States of America )
State of North Carolina ) s.a
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV/61/ English Reformation Bible and in accordance with the Maxims of Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

Subscribed and Affirmed before me on this [3 day of August, 2024.

i KATHRYN WHITE 7
Sat. %, Notary Public, North Carolina Ty _
we ees Guilford County t ANAK. es.”
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My Cone Notary Public

Exhibit 10; Page 3 of 3

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Verified Unilateral Contract Under Seal, 3
Acknowledgement and Acceptance of Constitutional Oaths
To Support the Constitution of the United States of America Concerning
“john joseph: whitfield” and/or “JOHN JOSEPH WHITFIELD”—Nunc Pro Tunc
Ab Initio

COMES NOW Affiant, john joseph: whitfield, a man in esse, sui juris and in propria
persona, over the age of majority, cognizant of the importance of the matters stated herein
and competent to give testimony, solemnly makes oath that:

I, john joseph: whitfield, with intent and purpose, being a Pre-March 9, 1933, Private
American National Citizen of the United States protected by Section One of the Fourteenth
Amendment to the Constitution for the United States of America, in consideration of one
lawful dollar, hereby Acknowledge and Accept the Constitutional Oaths of all
legislative, executive and judicial officers, federal and state, to support and defend the
Constitution for the United States of America. Said Acknowledgment and Acceptance
extends to Affiant, john joseph: whitfield—mistakenly presumed to be legal fiction
“JOHN JOSEPH WHITFIELD” or any other derivation of the NAME of said legal fiction.

Further, 1, john joseph: whitfield, with intent and purpose, being the Beneficiary and
Agent of Record without prejudice, without recourse, of my Principal, “JOHN JOSEPH
WHITFIELD,” in consideration for one lawful dollar, hereby Acknowledge and Accept
the Constitutional Oaths of all legislative, executive and judicial officers, federal and
state, on behalf of my Principal, California Registered Organization/former quasi-
Corporate Sole by operation of law, now Private Business Trust “JOHN JOSEPH
WHITFIELD”—Nunc Pro Tunc Ab Initio. This Acknowledgement and Acceptance of
Constitutional Oaths is retroactive to the date of May 2, 1967, the date of the public filing
and registration of Affiant’s Certificate of Live Birth thereby creating said Registered
Organization/former quasi-Corporate Sole by operation of law in the County of New
Castle, State of DELAWARE.

Further, all legislative, executive and judicial officers are hereby bound by their
constitutional Oaths to support and defend the Constitution of the United States of America
which includes giving Affiant, john joseph: whitfield, and his Principal, “JOHN
JOSEPH WHITFIELD,” a constitutional, Civilian Due Process of Law in civil and
criminal matters on both a federal and state level. Refusal or failure to do so would be a
violation of Affiant’s and/or his Principal’s Civilian Due Process Rights secured from
federal infringement by the Fifth Amendment to the Constitution, from state infringement

Exhibit 11; Page 1 of 3

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by Section One of the Fourteenth Amendment to the Constitution of the United States of
America and Article 23 of the Hague Convention.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

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john foseph* Whitfield, American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 11; Page 2 of 3
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 55 of 102

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AKJV 16/1 Bible and in accordance with the Maxims of Equity, declares that every
statement given above is the whole truth to the best of his knowledge and experience.

Subscribed and Affirmed before me on this i day of August, 2024.

> KATHRYN WHITE

9 ® Notary Public, North Carolina
2 Guilford County

My Commission Expires Not Public
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Exhibit 11; Page 3 of3

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Verified Unilateral Contract Under Seal, 4
Release and Discharge of Obligations
To Impose Emergency War Powers Military Due Process of Law on
“iohn joseph: whitfield ” and/or “JOHN JOSEPH WHITFIELD”—Nune Pro Tunc
Ab Initio

Accordingly, I, john joseph: whitfield , in esse and sui juris, being duly sworn, depose
and declare that:

1, john joseph: whitfield , with intent and purpose, being a Pre-March 9, 1933, Private
American National Citizen of the United States protected by Section One of the Fourteenth
Amendment to the Constitution for the United States of America, in consideration for one
lawful dollar, hereby Release and Discharge all legislative, executive and judicial officers,
federal and state, of their statutory, emergency war powers Obligations to impose upon
Affiant, john joseph: whitfield —mistakenly presumed to be legal fiction “JOHN
JOSEPH WHITFIELD” or any other derivation the NAME of said legal fiction—an
emergency war powers military due process of law, civil and / or criminal, public and / or
private, judicial and / or administrative; and,

Further, I, john joseph: whitfield , with intent and purpose, being the Beneficiary and
Agent of Record without prejudice, without recourse, of “JOHN JOSEPH WHITFIELD,”
in consideration for one lawful dollar, hereby Release and Discharge—Nunc Pro Tunc
Ab Initio—all legislative, executive and judicial officers of the United States and all
legislative, executive and judicial officers of the several States of their statutory emergency
war powers Obligations to impose upon the Indiana Registered Organization/former
quasi-Corporate Sole, now Private Business Trust “JOHN JOSEPH WHITFIELD,” a
military due process of law, civil and/or criminal, public and/or private, judicial and/or
administrative.

This Release and Discharge of Obligations to Impose Military Due Process of Law on
“JOHN JOSEPH WHITFIELD”’—WNune Pro Tunc Ab Initio—is retroactive to the date
of May 2, 1967, the date of the public filing and registration of Affiant’s Certificate of Live
Birth thereby creating by operation of law said Registered Organization/Corporate Sole in
the State of Indiana, County of Guilford.

This Release and Discharge of Obligations to Impose Military Due Process of Law
includes the military jurisdiction imposed after April 25, 1938, on all the courts, federal
and state, said military jurisdiction conferred by Congress through Section 17 of the

Exhibit 12; Page 1 of 3
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“Trading With the Enemy Act” of October 6, 1917 (50 USC App. 5(b), as the Act was
amended by the “Emergency Banking Relief Act” of March 9, 1933 (12 USC 95a).

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

joturfoseph: Whitfield , American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
Ali Rights Reserved Without Prejudice

Exhibit 12; Page 2 of 3
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Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day valerie jean: sullivan, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV/611 English Reformation Bible and in accordance with the Maxims of Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

qa.
Subscribed and Affirmed before me on this _(g day of August, 2024.

= KATHRYN WHITE
Notary Public, Notth Carolina

Guilford County
My Commission Expires 7
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Notary Public

Exhibit 12; Page 3 of 3

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Affidavit 11 of john joseph: whitfield, 11
Court Lacks Jn Personam Jurisdiction over the Lawful Man, john joseph: whitfield
In Both Criminal and Civil Actions for Want of Voluntary Joinder With the
Alleged Defendant / Legal Fiction “JOHN JOSEPH WHITFIELD”
and / or Mis-Description and / or Misnomer of the Man;
Fee Schedule for Violation of Affiant’s Right to Civilian Due Process of Law

COMES NOW Affiant, john joseph: whitfield, a Lawful Man in esse, sui juris and in
propria persona, over the age of majority, cognizant of the importance of the matters stated
herein and competent to give testimony, solemnly makes oath that:

1. Affiant claims as a matter of public record, he is primarily a Pre-March 9, 1933,
Private Citizen of the United States / Private American National / Non-“U.S.
citizen,” said Private American citizenship status secured by Section One of the
Fourteenth Amendment to the Constitution of the United States of America; and,

2. Affiant claims, as a matter of public record, he is secondarily a Freeman / Private
Citizen of the Union Nation / State wherein he privately resides at American
Common Law and American Exclusive Equity, on the land of a non-militarily
occupied, private estate within a given County of a given Union Nation / State of
these United States of America, protected by Section One of the Fourteenth
Amendment to the Constitution of the United States of America; and,

3. Affiant claims his dual allegiance is to the non-military, civilian government of the
United States of America and to the non-military, civilian government of one of
the sovereign Nation / States of the United States (both civilian governments
presently ousted as of March 9, 1933, via FDR’s Proclamations 2039/2040 and
Congress’ “Emergency Banking Relief Act” of March 9, 1933, codified at 12 USC
95a-b moved to a footnote at 50 USC 4305(b)); and,

4. Affiant claims he is a “National” and his preeminent constitutional right to civilian
due process of law in both civil and criminal matters, federal and state, is protected
by the Fifth Amendment and Section One of the Fourteenth Amendment to the
Constitution of the United States of America and is also protected by Article 23h
of the International Hague Convention Treaty; and therefore,

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5. Affiant, the Lawful Man made in the image of God, john joseph: whitfield, in any
proceeding, federal or state, civil or criminal is not the alleged Defendant / Legal
Fiction, “JOHN JOSEPH WHITFIELD,” “JOHN J. WHITFIELD,” “WHITFIELD,
JOHN J.,” “John J. Whitfield” or any derivation of said NAME / Nom de guerre;
and,

Further,

6. Affiant is the Sole Beneficiary and Agent of Record for his Principal / Legal Fiction
/ Legal Person, “JOHN JOSEPH WHITFIELD,” a national private business trust
whereby Affiant interfaces in domestic and foreign commerce as its Agent of
Record and Sole Beneficiary; and,

7. Affiant, pursuant to his Principal’s Trust Indenture attached to Exhibit 15 as
Annex F of this Declaration of Status, Releases and Discharges the Court, federal
or state, from its obligation to impose its usual statutory, Emergency War Powers
Military Due Process of Law essentially proceeding according to the course of
American Admiralty Jurisprudence in any criminal and / or civil matter wherein
Affiant’s Principal, “JOHN JOSEPH WHITFIELD,” if named as an alleged
Defendant would be a Breach of Trust by any officer of any Court, federal/national
or state, pursuant to said Trust Indenture; and,

8. Therefore Affiant, the Lawful Man john joseph: whitfield, a third party of interest,
DOES NOT ACCEPT any Plaintiffs or Court’s Offer of Joinder with Affiant’s
Principal, the alleged Defendant / Legal Fiction “JOHN JOSEPH WHITFIELD,”
by being represented by an attorney, or by making an appearance, or by pleading to
the merits or by making a motion in any proceeding, criminal and/or civil; and,

9. Therefore, Affiant DISCLAIMS any implied trust arrangement between any
Plaintiff and the alleged Defendant / Legal Fiction, “JOHN JOSEPH WHITFIELD,”
said presumption arising by operation of law pursuant to a maxim of Emperor
Justinian’s Roman Civil Law being the foundation of American Admiralty
Jurisprudence; and,

10. Therefore, Affiant DOES NOT CONSENT to be an implied surety / implied
trustee / implied fiduciary / implied registered agent / implied lessee in any legal

proceeding, federal or state, criminal or civil, for his Principal / Legal Fiction,
“JOHN JOSEPH WHITFIELD,” named as Defendant therein; and,

Exhibit 13; Page 2 of 5
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 61 of 102

11. Therefore, Affiant is not the alleged Defendant / Legal Fiction “JOHN JOSEPH
WHITFIELD,” and therefore, pursuant to this Affidavit entered on the Public
Judicial Record, every Court is put ON NOTICE that, pursuant to its oath to uphold
the Constitution of the United States of America, must abate every proceeding
involving Misnomer of the Lawful Man, john joseph: whitfield for:

“Where conditions for its issuance exist, abatement is a matter of
right, not of discretion. The misnomer or mis-description of a party
defendant is grounds for abatement; and grounds for abatements are
the same for equity and law cases.”

Corpus Juris Secundum, Vo. 5, p. 35 (1985); Lbid, Vol. 5, p. 37 (2005).

12. Further, should any officer of any court, national (federal) or state, in violation of
his or her oath to uphold the Constitution of the United States and the Constitution
of the State, proceed with the usual, federally-conferred, emergency war powers
military jurisdiction due process proceeding, criminal or civil, pursuant to 50 USC
4316, in violation of Affiant’s said constitutional right to a Civilian Due Process
of Law, said officer will incur a one hundred-thousand dollar ($100,000.00)
charge for each violation listed in the Fee Schedule below to be attached to his
insurance bond, said charge in the form of a UCC lien to be placed on the
commercial record. Said charges are as follows:

Fee Schedule

a. Displaying a military flag/color, federal or state, in the courtroom; and/or,

b. Presuming the Affiant to be the defendant with Affiant’s name spelled in all
upper-case letters being a nom de guerre/name of war; and/or,

c. Presuming Affiant is the surety/fiduciary/trustee for the defendant; and/or,

d. Presuming Affiant has made an appearance for any reason whatsoever after
Affiant has stated for the record and entered into evidence the facts proving
Affiant is not the defendant but rather a third party, real party of interest, the
Sole Beneficiary and Agent of Record for the defendant; and/or,

e. Entering a plea of “Not Guilty” for Affiant presuming joinder with defendant.

“He that is surety for a stranger shall smart for it; and he that hateth
suretyship is sure.” Proverbs 11:15 (KJV)

Exhibit 13; Page 3 of 5
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 62 of 102

Further Affiant Sayeth Not.

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jokurjoseph{whitfield
American Freeman / State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National / Non-“U:S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse / without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Name and Estate of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 13; Page 4of5
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A notary public or other officer completing this certificate verifies only the identity of the
individual whe signed the document to which this certificate is attached, and not the
truthfulness, accuracy or validity of that document.

JURAT
State of North Carolina )
Guilford County )

On_f™ Ave uct, 2024 beforeme, Yotntun W\nite,
personally appeared john joseph: whitfield who proved to me on the basis of satisfactory

evidence to be the person whose name is subscribed to the within instrument and
acknowledged to me that he executed the same in his authorized capacity and that by his
signature on the instrument the person, or the entity on behalf of which the person acted,
executed the instrument.

I certify under the PENALTY OF PERJURY under the laws of the Commonwealth of
Pennsylvania that the foregoing paragraph is true and correct.

WITNESS my hand and official seal.

KATHRYN WHITE

{ % Notary Public, North Carolina
Guilford County

My Commiss on Expir es
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Notary Public Signature — Notary Public Seal

Exhibit 13; Page 5 of 5

Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 64 of 102

Affidavit 12
Court Reporter’s Transcript of Proceedings

I, john joseph: whitfield, in esse and sui juris, solemnly affirm, depose and declare that:

The attached eight (8)-page “Reporter’s Transcript of Proceedings” as recorded by
Official Court Reporter Beverly A. Casares for the United States District Court for the
Central District of California, the Honorable John G. Davies presiding, March 21, 1994,
Los Angeles, California (Annex A), is a full, complete, true and correct copy of a certified
copy of the original court transcript.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not. a
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johirfoseph: whitfield’ American Freeman / State National
Pre-March 9, 1933, Private American Citizen of the United States
Pre-March 9, 1933, Private American National / Non-“U.S. citizen”
Private Resident of the State of North Carolina
Special and Private Resident of the County of Guilford
All Rights Reserved Without Prejudice

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person
described herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus
Christ, set forth in the AV/6/1 English Reformation Bible and in accordance with the Maxims
of Equity, declares that every statement given above is the whole truth to the best of his
knowledge and experience.

ath
Subscribed and Affirmed before me on this 7 day of August, 2024.

ae KATHRYN WHITE |

Rt a Notary Public, North Carotina

a Guilford County

fF My Commission Expires
LIF;

Notary Public

Exhibit 14; Page 1 of 1
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NGRA M. MANELIA

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GREGORY a. ROTH. ee ee

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Room 2215, Federal Builesns r ye 4
300 Horth Les Angeles S*==Sst yma eee Yt
Los Angeles, CA 90012 j. —/ t \
Telephone: (213) S94-2575 \ eet 38> ,
Facsimile: (213) 894-0425 ystto2 4G59001

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CENTRAL DISTRICT OF CALIFORNIA

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UNITED STATES DISTRICT COURT... 4 IG3A i U
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UNITED STATES OF AMERICA, case na. ev U4 isda)

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ORDER TO SHOW CAUSE

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Peti Tiener,

Neat Baca Meret Snet aget Set Sne?

VS. -

RANDY L. CER,

Respondant-

Usen une eetizion and supporting Memorandum of Points and
authorities and Dec] cation to the Petition, the Courc finds that
Petizioner has established its prima facie case for judicial
enforcement of the subject summonses. See United States ~.

Dowell, 373 U-S- 48, $8, 35 S.cr. 246. 23 L.aa.-2d ii2 (1964).

See also United Svates ~~ Samueis, krame> eng Co., Fiz F.2d i342

SSS

1944-65 (9th Cir. 1983) (the Covernment's prima facie case is

typically made through che sworn dectiarations

who issued the summons) .-

Hti Exhibit 14: Annex A; Page 1 of 8

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Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 66 of 102

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Federal Suilding
FE. Temple Street, Les Angeles. California, 90013
ViaoRe.

| 1994, ac SSSSe=eewe., and show cause

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why testimony and production of beaks, records, sape=s and other

data demanded in the subject Internal Revenue Sarvice siimonses

*

should not be campelled-

IT IS PURTEER ORDERED that copies of this Order, =he

21 patition, Memorandum of Points and Authorities, and accompanying

Declaration be served promptly upon Respondent by any employee ort
the Internal hevermme Sexvice by personal delivery or by cartified

.

mail.
IT I5 FURTHER ORDERED thet within tan (10) days after
i service upon the Respondent ef the herein desexihed documents,

geesondent shall file and serve & written response supporved by

r

j appropriate sworn st*tsments, as well 2s any desired motions-
If, prior wo the return date of this Order, Respondent files 4
response with ‘he Court stating that Respondent does not desires
to oppose tne relief sought in the Petition, nor wish to make an
appearance, than the appearance of Respondent at any hearing

pursuant =o this Order to Show Cause is excused, and Respondent

shall be ésemed <5 heve complied with che requirements of this

rder.

ffi

HH Exhibit 14: Annex A; Page 2 of 8

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Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 67 of 102

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ay FURTHER ORDERED wnat all motions ang -SSuges Teisee
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she plaadings will 7e€ considered on che return date ef this
Oraer. Only those issuss waised by sotion ar frough= ints
conarsversy by tae cresnonsive pleadings and supporced by sworn
statements *iled within ten (10} days after service of the herein

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described documents will be considered by the Court. All

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lieqations in the Petition nat cantested by such responsive

. . Te eee
sleadinas or Sy sworn etatements will 5e deemed admit tec.

DATED: This [54h day of FEBRUARY | 19g4.

nyfr=D STATES DISTRICT JUDGE

Presented By: :
NORA M. MANELLA

United States Attorney

MASON C. LEWIS

Assistant United States Atsarney
Chief, Tax Division

Liisa *

Ga=GORY A/ ROTH

3 assispant United St. ces Accormmey

| actorneys for Petitioner,
i United States of Americe

Exhibit 14: Annex A; Page 3 of 8

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Case 1:24-mc-00643-UN Document1 Filed 08/09/24 Page 68 of 102

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RONORESLE sOHN G. DAVIES, JUDGE PRESTDING

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REPORTER‘S TRANSCRIPT OF PROCEEDINGS

BEVERLY A. CASARES CSR# 8630
Official Cours Reporter

312 North Spring Street

Baom 440

Los Angeles, California 30012
{Z13) 617-2295

Exhibit 14: Annex A; Page 4 of 8

A. CASAPES, UNITED STATES OFFICIAL CaURT REPORT=E=
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 69 of 102

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FOR PLAINTIFF (S) SRESORY

AESURE A
3 312 Kh. Spring Str
Les Angeles, Cali

4 (2235) 894-2410

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FOR DETENDANT(S}

RANDY L. OGREER

Exhibit 14: Annex A; Page 5 of 8

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BEVERLY A. CASARES, UNITES STATES OFFICIAL COURT REPORT

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Case 1:24-mc-00643-UN Document1 Filed 08/09/24 Page 70 of 102

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ROS ANGELES, ChLITORHIA: MONDAY, ME 221, iss

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2:30 PLE.

st: Item number 6, case number C/-94qR,
Statas ci Amesica versus Randy L. CEE: .
YR. ROTH: Good efternoon, your Honor, Assistant
U.S. Attorney Gregory Roth appearing on behalf of ‘the
United States, end its agency <

y the Internal Revenue

Service.

THE COURT: Is there any opposition:

WR. Cag P.: For the record.

THE COURT: Yes.

HR. O@NMEBESSSEHR: My Christian name is Randy Lee an
ny family nane is OG: .

THE COURT: All ricnt.

MR. OWQRRESEMEER: Theat is spelled capital R, lower
cease, e-n-d-y, capital L, Lower case e-e, capital 0, lower
case \— ST

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housekesping, and attampts to create a colorable persons
under colorable law by the name of capital R-A-N-D-Y L
period, O-Gyeae- PR. The artifice being used
nere 20 deceive this Honorable Court must be abated as a
Public Nuisance. Exhibit 14: Annex A; Page 6 of 8

Fer the recnera Randy Lae ans Jesus che Chsist

SEVEPLY A. CASARES, UNITED STATES OFFICIAL COURT REPORTS

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Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 71 of 102

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the People.

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Hr. Roth, do

+o this alleged case of mistaken

, your Honor.

Mr. OGM: seens

to think tha‘ if you spell vour name in upper and lover

case, it rslieves him
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next case Clerk.

Thank you.

Mr.

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Roath. Please cali the

(Proceadings concluded. }

Exhibit 14: Annex A; Page 7 of 8

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CASRETS, UNITID STATES 0

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Case 1:24-mc-00643-UN Document.1 Filed 08/09/24 Page 72 of 102

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: 3/23/94
TERLY A. CASAPES CSR 3630 DATED:

25 Exhibit 14: Annex A; Page 8 of 8
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 73 of 102

Exhibit 15: Annex A:

Allonge — 1 Page

Affidavit 13 — Dectaration of National Private Trust Agreement — 3 Page
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 74 of 102

Affidavit 13
Declaration of National Private Trust Arrangement

This is Actual and Constructive Notice
of a Declaration of a Special and Private Trust Arrangement
Established by Pre-March 9, 1933,
Private Citizen of the United States/Private American National/Non-“U.S. citizen”
john joseph: whitfield, Grantor/Settlor, Sole Beneficiary
Agent of Record Without Recourse/Without Prejudice for
the Name and Estate of “ JOHN JOSEPH WHITFIELD,” with a
Private Indenture governing the Special use of National Private Business Trust
“ JOHN JOSEPH WHITFIELD.”

See Copy of the State Apostilled Certificate of Live Birth
with Allonge Evidencing the Trust “ JOHN JOSEPH WHITFIELD” (Annex A);
See Copies of U.S. Treasury/IRS Form W-8BEN,
Form 56, Form 8822-B, and Form 8S-5 (Annexes B, C, D and E)

NOTICE 1: The Private Master File Trust Number is: J4W03091967.01.001.
All trust res documents will display a specific private trust res number derived from the above
Private Master File Trust Number.

NOTICE 2: Pursuant to its Private Trust Indenture, National Private Business Trust “ JOHN
JOSEPH WHITFIELD” is a “person” in commerce defined by the “Trading With the Enemy
Act” of 1917 (50 USC App. 5(b) now 50 USC 4305(b)) as amended by the “Emergency Banking
Relief Act” of 1933 (12 USC 95a). But pursuant to its private Indenture, the Trust is not subject
to any statutory, temporary emergency war powers military jurisdiction, federal and/or state, and
therefore cannot be given a statutory, temporary emergency war powers military due process of
law without a Breach of Trust. The Trust, its Sole Beneficiary and owner of the Trust Estate, being
a Pre-March 9, 1933, Private Citizen of the United States/Private American National/Non-“U.S.
citizen,” is an individual natural “person” designated in the Fifth and Fourteenth Amendments to
the Constitution of the United States of America and therefore, may only be given a constitutional
civilian due process of law on a federal and state level pursuant to the Fifth and Fourteenth

Exhibit 15, Declaration of Private Trust; Page 1 of 3
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 75 of 102

Amendments to the Constitution of the United States as declared in Hale v. Henkel, 201 U.S. 43

at 74 (1906).
Maxim: “Equity regards as done that which ought to have been done.”

Further Declarant Sayeth Not.

let ie wf

johu joseph whitfield, Grantor-Settior, Beneficiary
Pre-March 9, 1933, Private Citizen of the United States

Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for

Private Business Trust “ JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of

Private Business Trust “ JOHN JOSEPH WHITFIELD”
All Rights Expressly Reserved

Exhibit 15, Declaration of Private Trust; Page 2 of 3
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 76 of 102

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person
described herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus
Christ, set forth in the AKJV_1611 Bible and in accordance with the Maxims of Law and
Equity, declares that every statement given above is the whole truth to the best of his
knowledge and experience.

fl
Subscribed and Affirmed before me on this bp day of August, 2024.

KATHRYN WHITE

& af 9 Notary Public, North Carolina .
q Pts Guilfard County ht
i My Cees Expires cA

LLLE/ DAY Notary Public

Exhibit 15, Declaration of Private Trust; Page 3 of 3

Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 77 of 102

Exhibit 15: Annex A;
Allonge — 1 Page

Apostilled Original Birth Certificate - 3 Page
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 78 of 102

Exit 1S? Annex A

ALLONGE
Private Unilateral Contract Under Seal

Acceptance/Conveyance of Property in Equity
Accepted for Value/Claimed by Grantee Absolute
Legal Title Assigned/Conveyed by Grantor-Settlor
To: President of the United States, Trustee
To: Secretary of the Treasury of the United States, Trustee

On Special Deposit
Without Recourse/Without Prejudice
AUG 0 6 2024
Date:
Signatory: pf wha, e aay
john joseph: whitfield

Pre-March 9, 1933, Private Citizen of the United States
Pre-March 9, 1933, Private American National
Pre-March 9, 1933, Private Citizen of the State of North Carolina
Grantee/Grantor-Settlor/Beneficiary
Agent of Record for the Name and Estate of JOHN JOSEPH WHITFIELD
Trust Res No, J.JW03091967.01.001

Exhibit 15: Annex A

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VITAL STATISTICS BOARD OF HEALTH

LOCAL STATE
REG. NO. 2033 rutno, 1O7- 67-003176
1, PLACE OF BIRTH 2. USUAL RESIDENCE OF MOTHER (wrere MOTHER LIVES}

COUNTY New Castle DELAWARE |srare Oklahoma COURITY <=
CITY, TOWN, OR LOCATION TITY, TOWN, OR LOCATION 1 ZiP CODE

Wilmington Lawton ~~ F3501
NAME OF HOSPITAL OR INSTITUTION (iF NEITHER, GIVE STREET ADDAESS)IS PLACE IN CITY LIMITS) STREET ADDRESS 1S RESIDENCE |N CITY LIMITS

St. Francis Hospital YES{x] NOL) 712 North Sist Street yesL] Nol]

FIRST MIDDLE : TAST
John Joseph Whitfield

‘Ta. SEX 5A. THIS BIRTH B. IF TWIN OR TRIPLET, WAS CHILD BORN | 6. DATE OF BIRTH

Male sinote KK] twin LJ tevpuer LJ } tse LJ mol] aol] |mo. March pay 9,  vear L967

7. NAME FIRST MIDDLE _ LAST

Joseph eonard __ Mhitfield

9, AGE (TIME OF Thus BietH) 10. BIRTHPLACE (STATE OR FOREIGN ante 717. USUAL BC CURATION.
31 years] Duplin Cty., North Carolina Chief Warrant Officer, U.S. Army
12. MAIDEN NAME FIRST MIDDLE LAST 13. RACE

Sarah Roth = Waters Caucasian
14, AGE (TIME OF THIS BIRTH) 15. BIRTHPLACE state OR FOREIGN COUNTRY) Té. PREVIOUS DELIVERIES TO MOTHER (DO NOt (MCLUBE THIS g1RTH)

32 Duplin Cty,North Carolina
17. SIGNATURE GF FARENT

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FETAL DEATHS
Scie ee orner (FETUSES 80
cuiubaees ARE bmn BORN ALE ut — a | BAY tii Y TIME AFTER |= = — +
Now LIVING? “] ARE NOW DEAD? ONCEF HON

18. MOTHER'S MAILING ADDRESS STREET ADDRESS CITY, TOWN, OR LOCATION STATE ZIP CODE
712 North 3lst Street, Lawton, Oklahoma 73501

19. SIGNATURE (ATTENDANT AT BITHE ATTENDANT AT SIRTH

| SPECIFY
Richard C. Hayden wo. 00.0] MIDWIFE OTHER
LIVE BORN AT {time} ADDRESS (ATTENDANT AT BIRTH] DATE SIGNED

4:13. P.M.”.|2401 Pennsylvania Ave., Wilmington, Del. | March 10, 1967
| 20. DATE RECEIVED BY LOCAL REGISTRAR 21. LOCAL REGISTRAR’S SIGNATURE

[May 2. 1967 Francis X. Shoemaker

FOR MEDICAL AND HEALTH USE ONLY (THIS SECTION MUST BE FILLED OUT)

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This Certified copy is a true and correst-copy or part
thereof of the ofiginat-fecord filed with the Delaware.
Divisiorrof Public Health; Office of Vital Statistics. This
ig issued tinder the autnority of 16 Pel C., § 3110.

Any alteration oi this document is prohibited. Do not
accept unless on security paper with the raised Seal
of the Office of Vital Statistics.

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United States of America

DEPARTMENT OF STATE

To all to whom these presents shall come, Greetings:

I Certify That the document hereunto annexed is under the Seal of the Secretary of State of
the State(s) of Delaware, and that such Seal(s) is/are entitled to ful faith and credit.*

*For the contents of the annexed Jocument, the Department assu nes no responsibility
This certificate is not valid if it is removed or altered in any way whatsoever

Issued pursuant to CHXIV. State of
Sept. 15, 1789, | Stat. 68-69; 22
USC 2637; 22USC 263!a: 5 USC
301; 28 USC 1733 et. seqg.; 8 USC
1443); RULE 44 Federal Rules of
Civil Procedure.

In testimony whereof, I, Antony J. Blinken, Secretary of State ,
have hereunto caused the seal of the Department of State to be
affixed and my name subscribed by the Assistant Authentication
Officer, of tae said Department, at the city of Washington, in the
District of Columbia, this sixteenth day of September, 2022.

Lado ly Bhhex.
: Secretary of State
By Yt

. —_
\Z4 Assistant Authentication Officer,
Department of State

Case 1:24-mc-00643-UN Document1 Filed 08/09/24 Page 81 of 102

Delaware ve

The First State

I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE
OF DELAWARE, DO HEREBY CERTIFY THAT KARYL T. RATTAY, M.D., WHOSE
GENUINE SIGNATURE APPEARS ON THE ABOVE AND FOREGOING DOCUMENT WAS AT
THE TIME OF MAKING AND NOW IS THE STATE REGISTRAR OF VITAL
STATISTICS FOR THE STATE OF DELAWARE IN AND FOR KENT COUNTY
DULY APPOINTED, COMMISSIONED, AND QUALIFIED, AND THAT FULL FAITH
AND CREDIT ARE, AND OUGHT TO BE, GIVEN TO ALL OF HIS OFFICIAL
ACTS AS SUCH.

IN TESTIMONY WHEREOF, I HAVE HEREUNTO SET MY HAND AND
AFFIXED MY OFFICIAL SEAL OF OFFICE AT DOVER ON THE TWENTY-FIFTH DAY

OF JULY, A.D. 2022.

Jeffrey Wi. Bullock, Secretary of State =F

UCSVC Authentication: 203997856

SR# 20223072079 —— Date: 07-25-22

You may verify this certificate online at corp.delaware.gov/authver.shtml

Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 82 of 102

Exhibit 15: Annex B;

W-S8BEN — 1 page

Affidavit 14 —3 Pages
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 83 of 102

rom W=-SBEN Certificate of Foreign Status of Beneficial Owner for United
States Tax Withholding and Reporting (Individuals)

(Rev. October 2021} > For use by individuals. Entities must use Form W-SBEN-E. OMB No. 1545-1621
Department of the Treasury > Go to www.irs.gov/FormW&BEN tor instructions and the latest information.
Intemal Revenue Service » Give this form to the withholding agent or payer. Do not send to the IRS.
Do NOT use this form if: Instead, use Form:
eYouareNOTanindividual 2. 0. 01. ee ee ee ee ee WEBBEN-E
* You are a U.S. citizen or other U.S. person, including aresident alien individual 2... 2. ee ee ee
* You are a beneficial owner claiming that income is effectively connected with the conduct of trade or business within the United States

(other than personal services) . 6. wk we ee ee ee ee ee WBE
* You are a beneficial owner who is receiving compensation for personal services performed inthe United States . . . . . . . &8233 orW-4
» You aré a person acting as anintermediary 2 2 6 6 ee ee ee ee WIM

Note: If you are resident in a FATCA partner jurisdiction (that is, a Model 1 IGA jurisdiction with recipracity}, certain tax account information may be
provided to your jurisdiction of residence.

Identification of Beneficial Owner (see instructions)
1. Name of individual who is the beneficial owner 2 Country of citizenship
john joseph: whitfield, Pre-March 9, 1933, Private Citizen of the United States Nation of North Carolina

3° =Permanent residence address (street, apt. or suite no., or rural route). Do not use a P.O. box or in-care-of address.
c

City or town, state or province. Include postal code where appropriate. Country

4 = Mailing address {if different from above)
cio 4214 W Wendover Ave, #1070

City or town, state or province. Include postal code where appropriate. Country
Greensboro, North Carolina, ZIP Code Excepted [27407]

United States
5 U.S. taxpayer identification number (SSN or ITIN), if required (see instructions)
N/A
6a —_—- Foreign tax identifying number (see instructions) 6b Check if FTIN notlegally required. .. 2. 1. 0. 2. 1. 1 aw O
NIA
7 Reference number(s) (see instructions} 8 Date of birth (MM-DD-YYYY) {see instructions)
JOHN JOSEPH WHITFIELD, DELAWARE BC, File: 107-67-003176 03/09/1967

lagi Glaim of Tax Treaty Benefits (for chapter 3 purposes only) (see instructions)
9 I certify that the beneficial owner is a resident of N/A

treaty between the United States and that country.
10 Special rates and conditions {if applicable—see instructions}: The beneficial owner is claiming the provisions of Article and paragraph

within the meaning of the income tax

NWA of the treaty identified on line $ above to claim a % rate of withholding on (specify type of income}:
NIA

Explain the additional conditions in the Article and paragraph the beneficial owner meets to be eligible for the rate of withholding:
NIA

Flee Certification

Under penalties of perjury, | declare that | have examined the information on this form and to the best of my knowledge and belief it is true, correct, and complete. | further certify under penalties of perjury that:

* | am the individual that is the beneficial owner (or am authorized to sign for the individual that is the beneficial owner) of all the income or proceeds to which this form
relates or am using this form to document myself for chapter 4 purposes;

* The person named on line 1 of this form is not a U.S, person;
* This form refates to:
(a) income nct effectively connected with the conduct of a trade or business in the United States;
(b) income effectively connected with the conduct of a trade or business in the United States but is not subject to tax under an applicable income tax treaty;
(¢) the partner's share of a partnership's effectively connected taxable income; or
(d) the partner's amount realized from the transfer of a partnership interest subject to withholding under section 1446(f;
© The person named on line 1 of this form is a resident of the treaty country listed on line $ of the form (if any) within the meaning of the income tax treaty between the United States and that country; and
* For broker transactions or barter exchanges, the beneficial owner is an exempt foreign person as defined in tha instructions.

Furthermore, | authorize this form to ba provided to any withholding agent that has control, receipt, or custody of the income of which | am the beneficial owner or any withhokding agent that can
disburse or make payments of the income of which | am the beneficial owner. | agree that | will submit a new form within 30 days if any certification made on this form becomes incorrect.

| certify that | have the capacity to sign for the person identified on line 1 of this form.

jt B xe Te. As at 08/04/2024

\ signature4f beneficial owner (or indiyjdual authorized to sign for beneficial owner) Date (MM-DD-YYYY)
john joseph: whitfield
Print name of signer

Sign Here b

For Paperwork Reduction Act Notice, see separate instructions. Cat. No, 250472 Form W-8BEN (Rev. 19-2021)
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 84 of 102

Affidavit 14
Affidavit of john joseph: whitfield
Addendum to Treasury / IRS Form W-8BEN

COMES NOW Affiant, john joseph: whitfield, in esse and sui juris, over the age of
majority, cognizant of the importance of the matters stated herein and competent to give
testimony, solemnly declares that Affiant is a Constitutional, Pre-March 9, 1933, Private
Citizen of the United States / Private American National / Non-“U.S. citizen” / Private
Citizen of the Union Nation/State of residence at Common Law and Equity protected
by Section One of the Fourteenth Amendment to the Constitution of the United States of
America and Article 23h of the Hague Convention. Therefore, Affiant, a “National” and
not an enemy belligerent, affirms in good faith without any intent to defraud or mislead:

1. Affiant is as foreign to the temporary Emergency War Powers Military Government
ruling the United States of America since March 9, 1933, which sovereign nation
includes the individually sovereign, Fifty Union Nation States / Countries
composing the Union of the United States of America, the Union made more perfect
by the Constitution for these United States of America on March 4, 1789; and,

2. Affiant is as a statutory “Nonresident Alien Individual” as defined by 26 USC §
7701(b)(1)(B), the statute giving no positive definition, but only a negative
definition stating what is NOT a “Nonresident Alien Individual,” it declaring,

“An individual is a nonresident alien if such individual is neither a
citizen of the United States nor a resident of the United States.”

3. Affiant believes, in good faith, with no intent to defraud and sincerely believes,
based upon his personal experience, the use of the phrase “citizen of the United
States” in paragraph 2 is not the Affiant, a Pre-March 9, 1933, Constitutional
“citizen of the United States” defined by Section | of the Fourteenth Amendment,
but is the Post-March 9, 1933, statutory “citizen of the United States,” “citizen of
the Federal government,” i.e., the U.S. citizen “JOHN JOSEPH WHITFIELD”
with an SSN/TIN, it, like a corporation, being a creature of the corporate UNITED
STATES composed of both the states and territories deemed de facto conquered
territories under temporary emergency war powers military occupation, all of said
States’ and Territories’ registered property being seized enemy property of the
Commander in chief holding legal title thereto, the Commander in chief ruling its
Emergency War Powers Military Government from the District of Columbia
(“Rome on the Potomac’) since March 9, 1933; and,

Exhibit 15: Annex B; Page I of 3
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. Affiant believes the use of the phrase “resident of the United States” in paragraph
2 is not the Affiant, a Pre-March 9, 1933, Constitutional “resident” privately
residing on the land of a County in one of the Fifty Union Nation States / Countries
composing the Union of the United States of America pursuant to Section 1 of the
Fourteenth Amendment, but is the statutory “resident” of the statutory “United
States,” said “resident” residing in the “United States,” i.c., “the District of
Columbia” or one of its territories under military occupation; and,

. Affiant is not a resident of the geographical “United States” defined by 26 USC
§7701(a)(9) to be the “States and the District of Columbia,” said “States” defined
by 26 USC 3306(j)(2) to include only “the District of Columbia, the Commonwealth
of Puerto Rico, and the Virgin Islands” to the obvious exclusion of the Fifty States
composing the Union of the United States of America (“for what is excluded is not
included” lest the definition should be “void for vagueness’); and,

. Neither Affiant, nor his LEGAL FICTION / PERSON / statutory “U.S. citizen” /
enemy belligerent in commerce and in war, JOHN JOSEPH WHITFIELD, now
a Private Business Trust with a federally-assigned SSN/TIN, derives no “gross
income” and/or “income” that is “effectively connected with the conduct of a “trade
or business in the United States,” said “trade or business” statutorily defined by
26 USC § 7701(a)(26) to only include the “performance of the functions of a public
office” (such as all Courts, federal or state); and,

. Affiant’s LEGAL FICTION / PERSON in commerce and in war, JOHN JOSEPH
WHITFIELD, now a Private Business Trust, has not voluntarily engaged in
federally- privileged activities and therefore has no “income effectively connected
with the conduct of a trade or business in the United States” and therefore has no
“sross income” (defined as “income derived from a “source”) as all “income”
received by JOHN JOSEPH WHITFIELD is derived from Affiant, using JOHN
JOSEPH WHITFIELD, to exercise his fundamental right to exchange his private
property for money (which private transaction—apart from a chain of evidence
giving rise to a presumption that JOHN JOSEPH WHITFIELD is engaged in
federally-privileged activities, including a “trade or business’”—cannot be taxed
with an indirect, excise/income tax according to decisions of the Supreme Court),
and is the private trust property of the Affiant, john joseph: whittield, being
Sole Beneficiary of said Private Trust and holding Equitable Title by Nature of
said private trust property.

Maxim: “Equity regards as done that which ought to have been done.”

Exhibit 15: Annex B; Page 2 of 3
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Further Affiant Sayeth Not.

john foseph: whitfield, American Freeman/State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Name and Estate of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person
described herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus
Christ, set forth in the AK/V1611 Bible and in accordance with the Maxims of Equity, declares
that every statement given above is the whole truth to the best of his knowledge and
experience.

Subscribed and Affirmed before me on this [itr day of August, 2024.

RS KATHRYN WHITE
2 RY 9 Notary Public, North Carolina

é Aula Guilford County K,
¥ My Commission Expires wht =~.
OS 50g =

Notary Public

Exhibit 15: Annex B; Page 3 of 3
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Exhibit 15: Annex C;

IRS Form 56 — 2 pages

Exhibit 15: Annex C; Page 2 of 2
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 88 of 102

Form 56 Notice Concerning Fiduciary Relationship

a itoreeny (Internal Revenue Gode Sections 6036 and 6903) See eerie
Internal Revenue Service » Go to www.irs.gov/FormSs for instructions and the latest information.

identification

Name of person for whom you. are acting {as shown on the tax return} Identifying number Decedent's social security no.
JOHN JOSEPH WHITFIELD U.S. citizen; State File: 1607-67-003176; See attached BC 243333221 XXX-XX-XXXX

Address of person for whom you are acting (number, street, and room or suite no)

C/O 4214 W WENDOVER AVE, #1070

City or town, state, and ZIP code {If a foreign address, see instructions.)

Greensboro, North Carolina, Zip Code Excepted, [27407]

Fiduciary’s name

john joseph: whitfield, Pre-March 9, 1933, Private Citizen of the United Staies / Private American National / Non-"U.S. citizen"
Address of fiduciary (number, street, and room or sulte no.}

clo 4214 W Wendover AVe, #1070

City or town, state, and ZIP code Telephone number (optional
Greensboro, Guilford County / Nation of North Carolina, ZIP Code Excepted [27407] ( )

Section A. Authority

1. Authority for fiduciary relationship. Check applicable box:

CJ Court appointment of testate estate (valid will exists}

L] Court appointment of intestate estate (no valid will exists)

C1 Court appointment as guardian or conservator

C1 Fiduciary of intestate estate

CL] Valid trust instrument and amendments

(C] Bankruptcy or assignment for the benefit or creditors

Other. Describe » Registered Certificate of Live Birih/Unilateral Contract of Trusteeship/Suretyship by Operation of Law
2a If box 1a, 1b, or 1d is checked, enter the date of death >

o~-o 2 6O oO oD

Date of the registration of "Certificate of Live Birth of JOHN JOSEPH WHITFIELD,” New Castle County, Delaware

Section B. Nature of Liability and Tax Notices

3 = Type of taxes (check all that apply): Income (] Gift (1 Estate ([] Generation-skipping transfer [1] Employment
Cl Excise (1 Other (describe) »

4 Federal tax form number (check all that apply}: a (1 706series b(11709 ec L940 d (1941, 943, 944
e LJ 1040 or 1040-SR f £J1041 g(11120 h () Other (ist) Form 15103 Return Detiquency

5 If your authority as a fiduciary does not cover all years or tax periods, checkhere. . . . 1. 1. 7 1 ee ee BE
and list the specific years or periods » N/A

For Paperwork Reduction Act and Privacy Act Notice, see separate instructions. Gat. No, 16375! Form 56 (Rev. 12-2019}
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 89 of 102

Form 56 (Rev. 12-2019} Page 2

Revocation or Termination of Notice

Section A—Total Revocation or Termination
6 Check this box if you are revoking or terminating all prior notices concerning fiduciary relationships on file with the Internal
Revenue Service for the same tax matters and years or periods covered by this notice concerning fiduciary relationship >»
Reason for termination of fiduciary relationship. Check applicable box:
a LD Court order revoking fiduciary authority
b (1 Certificate of dissolution or termination of a business entity
c Other. Describe ® Terminating Fiduciary is now Sole Beneficiary by means of a valid trust instrument; See Exhibit 15 of DOS

Section B—Partial Revocation
7a Check this box if you are revoking earlier notices concerning fiduciary relationships on file with the Internal Revenue Service
for the same tax matters and years or periods covered by this notice conceming fiduciary relationship . . . . . . »O
b Specify to whom granted, date, and address, including ZIP code.

Section C— Substitute Fiduciary
8  CGheck this box if a new fiduciary or fiduciaries have been or will be substituted for the revoking or terminating fiduciary and
specify the name(s) and address(es), including ZIP code(s), of the new fiduciaryfies} . . . . . . ...... >
» Trustees: Occupants of the offices of the President of the United States and Secretary of the Treasury of the United States

laa) Court and Administrative Proceedings
Name of court (if other than a court proceeding, identify the type of proceeding and name of agency} Date proceeding initiated
NIA
Address of court Docket number of proceeding
NIA
City or town, state, and ZIP code Date Time [_] am. | Place of other proceedings
NIA C] p.m.

uke Signature

Under penalties of perjury, | declare that | have examined this document, including any accompanying statements, and to the best of my
Please ; knowledge and belief, it is true, correct, and complete.

Sign
Here b- i £..j pe reel Apert, Me caghii ¢e-exv Grantor-Settior / Beneficiary os 0° - pods}
Date

Ridyiary’ s sigedture SA Title, if applicable

Form 56 (Rev. 12-2019)
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Exhibit 15: Annex D:

FORM 8822- 1 Page
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 91 of 102

vom $822-B Change of Address or Responsible Party — Business

> Please type or print OMB No. 1545-1163
.D . . . .
Den a a eieceay > See instructions on back. Do not attach this form to your return.
Intemal Revenue Service » Go to www.irs.gov/Form8822B for the latest information.

Before you begin: If you are also changing your home address, use Form 8822 to report that change.

If you are a tax-exempt organization (see instructions}, check here jv]

Check all boxes this change affects.
1 (J Employment, excise, income, and other business returns (Forms 720, 940, 941, 990, 1041, 1065, 1120, etc.)

2 () Employee plan returns (Forms 5500, 5500-EZ, etc.)

3 L) Business location

4a Business name 4b Employer identification number
JOHN JOSEPH WHITFIELD XX-XXX3221

5 Old mailing address (no., street, room or suite no., city or town, state, and ZIP code). If a P.O, box, see instructions. if foreign address, also complete spaces
below, see instructions.

4214 W WENDOVER AVE, #1070, GREENSBORO, NC 27407

Foreign country name Foreign province/county Foreign postal code

NIA NIA NIA

6 New mailing address (no., street, room or suite no., city or town, state, and ZIP code). If a P.O. box, see instructions. If foreign address, also complete spaces
below, see instructions.

CIO 4214 W Wendover Ave, #1070, Greensboro, North Carolina (private in North Carolina and without the "United States")
Foreign country name Foreign province/county Foreign postal code

County of Guilford Nation of North Carolina N/A
7 New business location (no., street, room or suite no., city or town, state, and ZIP code), Ifa foreign address, also complete spaces below, see instructions.

NIA

Foreign country name Foreign province/county Foreign postal code

8 New responsible party's name
John joseph: whitfield, Pre-March 9, 1933, Private American National Citizen / Non-"U.S. citizen"; See attached Deciaration of Status

9 New responsible party’s SSN, ITIN, or EIN. (CAUTION: YOU MUST REFER TO THE INSTRUCTIONS FOR FORM SS-4 TO SEE WHO MAY USE AN EIN.)
See W-8BEN
10 © Signature. Under penalties of perjury, I declare that I have examined this application, and to the best of my knowledge and belief, it is true, correct, and complete.

Daytime telephone number of person to contact {optional >

Sign y Wi pS ferapte Aeat? | of-6% Daf

Here Sigtkasdre of owng,Stticer, orFepresentative , / Date
Agent of Record / Grantor-Settlor / Sole Beneficiary of the Name and Estate of JOHN JOSEPH WHITFIELD
Title

Where To File

Send this form to the address shown here that applies to you.

IF your cold business address was in... THEN use this address...

Connecticut, Delaware, District of Columbia, Georgia, Illinois,
Indiana, Kentucky, Maine, Maryland, Massachusetts, Michigan,
New Hampshire, New Jersey, New York, North Carolina, Ohio,
Pennsylvania, Rhode Island, South Carolina, Tennessee, Vermont,
Virginia, West Virginia, Wisconsin

Internal Revenue Service
Kansas City, MO 64999

Alabama, Alaska, Arizona, Arkansas, California, Colorado, Florida,
Hawaii, Idaho, lowa, Kansas, Louisiana, Minnesota, Mississippi, Internal Revenue Service
Missouri, Montana, Nebraska, Nevada, New Mexico, North Dakota, Ogden, UT 84201-0023
Oklahoma, Oregon, South Dakota, Texas, Utah, Washington,
Wyoming, any place outside the United States

For Privacy Act and Paperwork Reduction Act Notice, see back of form. Cat, No. 57465H From 8822-B (Rev. 12-2019)
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Exhibit 15: Annex E: and Attachment 1 to Annex E

e Social Security corrected Application — 1 page

e Notice of Correction - 4 pages

si
Use

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Form SS-5 (10-2021) UF

vaieee UF Until Stock Is Exhausted

SOCIAL SECURITY ADMINISTRATION

Page 5 of 5
OMB No. 0960-0066

Application for a Social Security Card

NAME First Full Middle Name Last
TO BE SHOWN ON CARD JOHN JOSEPH WHITFIELD
1 FULL NAME AT BIRTH First Full Middle Name Last
IF OTHER THAN ABOVE N/A N/A N/A
OTHER NAMES USED
9 Social Security number previously assigned to the person > 4 3 3/3 3 5 3 7
listed in item 1
PLACE OF pover DELAWARE Office DATE 05/02/1967
3 |BIRTH Use Only! 4 |OF
(Do Not Abbreviate) —_ City State or Foreign Country FCl BIRTH MM/DD/YYYY
«4: Legal Alien Legal Alien Not Allowed To Other (See
5 CITIZENSHIP U.S. Citizen LlallowedTo [) Work(See Instructions On [_] Instruct ions On
(Check One) Work Page 3) Page 3)
ETHNICITY RACE [Native Hawaiian [_] American Indian [_] Other Pacific
G |Are You Hispanic or Latino? | J | Select One or More Clalaska Native Black/African Islander
(Your Response is Voluntary) (Your Response ET ameriéani [_] White
Yes No is Voluntary) Llasian
8 |SEX CL] Male [_] Female
: : L
A. PARENT/ MOTHER'S First Full Middle Name ast
9 NAME AT HER BIRTH SARAH RUTH WATERS
B. PARENT/ MOTHER'S SOCIAL SECURITY
NUMBER (See instructions for 9B on Page 3) Unknown
A. PARENT/ FATHER’S First Full Middle Name Last
10 NAME JOSEPH LEONARD WHITFIELD
B. PARENT/ FATHER’S SOCIAL SECURITY known
NUMBER (See instructions for 10B on Page 3) ed
“ 4 ries ing person listed in item 1 or anyone acting on his/her behalf ever filed for or received a Social Security number card
ore?
Yes (if "yes" answer questions 12-13) [] No [_} Don't Know (If "don't know,” skip to question 14.)
4 2 Name shown on the most recent Social First Full Middie Name Last
ied eiew tn for the person JOHN JOSEPH WHITFIELD
4 3 Enter any different date of birth if used on an 03/09/1367
earlier application for a card MM/IDDIYYYY
14 TODAY'S 08/04/2024 15 DAYTIME PHONE
DATE MMIDDIYYYY NUMBER Area Code — Number
Street Address, Apt. No., PO Box, Rural Route No.
46 MAILING ADDRESS C/O 4214 W WENDOVER AVE, #1070
City State/Foreign Country ZIP Code
(Do Not Abbreviate) GREENSBORO NORTH CAROLINA 27407
| declare under penalty of pedury that | have examined all the information on this form, and on any accompanying
aN or acute Ind is true and correct to the best of my knowledge.

YOUR RELATIONSHIP Tye PERSON IN ITEM 1 IS:

your SIG ed 48 SON
of L sf C] Adoptive Parent Guardian Specify Beneficiary
DO sr amine BELOW THIS LINE (FOR SSA USE ONLY)
NPN |DOC [NTI CAN |ITV
PBC |EVI [EVA [Eve [PRA NWR |DNR [UNIT
EVIDENCE SUBMITTED SIGNATURE AND TITLE OF EMPLOYEE(S)

REVIEWING EVIDENCE AND/OR CONDUCTING
INTERVIEW

DATE

DCL DATE

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NOTICE OF CORRECTION

OF

SOCIAL SECURITY AGREEMENT
NUMBER RECORD

FOR

DELAWARE Registered Organization

“JOHN JOSEPH WHITFIELD”
State File No. 107-67-003176
Federal SSN: XXX-XX-3221

By:
john joseph: whitfield

Agent of Record for “JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Name and Estate of
“JOHN JOSEPH WHITFIELD”

Pre-March 9, 1933, Private Citizen of the United States of America
Pre-March 9, 1933, Private American National; Non-“U.S. citizen”
Pre-March 9, 1933, Private Citizen of the Sovereign
Nation/State/Country of Private Residence at Common Law and Equity
Pursuant to Section 1 of the Fourteenth Amendment
To the Constitution for the United States of America

Exhibit 15; Annex E: Attachmenti1, Page 1 of 4
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AFFIDAVIT 15
Notice of Correction of Social Security Agreement / Number Record
For DELAWARE Registered Organization “JOHN JOSEPH WHITFIELD”
State File No. 107-67-003176; Federal SSN: XXX-XX-3221

COMES NOW AFFIANT, john joseph: whitfield, in esse and sui juris, over the age of
majority, cognizant of the importance of the matters stated herein and competent to give
testimony, solemnly makes oath that Affiant is a non-statutory, Pre-March 9, 1933,
Private Citizen of the United States / Private American National / Non-“U.S. citizen”
and hereby amends and corrects the Social Security Agreement / Number Record (Form
SS-5) entered into with the Social Security Administration of the temporary emergency
war powers military government of the United States and declares as follows:

1. The “Date of Birth” for DELAWARE Registered Organization “JOHN JOSEPH
WHITFIELD” is May 2, 1967, the day Affiant’s “Certificate of Live Birth” was
filed with the Alameda County Registrar eighteen days after the nativity of Affiant,
the “child,” john joseph: whitfield, born on March 9, 1967, recorded thereon; and,

2. Affiant, no longer the Surety primarily liable / trustee / fiduciary / lessee / for said
DELAWARE Registered Organization “JOHN JOSEPH WHITFIELD” evidenced
by the attached “Release With Consideration” (Exhibit 3) of this “Declaration of
Status of john joseph: whitfield,” hereby rescinds all signatures of suretyship
ever provided for DELAWARE Organization JOHN JOSEPH WHITFIELD, Nunc
Pro Tune Ab Initio from the day said “Certificate of Live Birth” was filed by said
DELAWARE Registrar; and,

3. Affiant, having been restored to his former Pre-March 9, 1933, Private American
National Citizenship status held prior to the filing of said “Certificate of Live Birth,”
is now the Sole Beneficiary of the Name and Estate of DELAWARE Registered
Organization “JOHN JOSEPH WHITFIELD,” including all monies, assets and
property held in trust by any party, federal or state, public or private and domestic
or foreign; and,

4. Affiant is now the Agent of Record for DELAWARE Registered Organization
“JOHN JOSEPH WHITFIELD,” by which commercial vessel, being insured by said
Social Security Administration, Account No. XXX-XX-3221, Affiant interfaces in
domestic and foreign commerce, holding all equitable right, title and interest in
all property acquired by A ffiant and held in the Name and Estate of “JOHN JOSEPH

Exhibit 15; Annex E: Attachment 1, Page 2 of 4
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WHITFIELD” for which the Secretary of the Treasury is the Trustee holding legal
title thereto.

Maxim: “Equity regards as done that which ought to have been done.”

Further Affiant Sayeth Not.

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~,”

joku’ joseph: Muitield, American Freeman/State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
Agent of Record without recourse/without prejudice for
“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”
All Rights Reserved Without Prejudice

Exhibit 15; Annex E: Attachment 1, Page 3 of 4
Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 97 of 102

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford )

Before Me, on this day john joseph: whitfield, known to me to be the natural person described
herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus Christ, set
forth in the AV/61] English Reformation Bible and in accordance with the Maxims of Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

Subscribed and Affirmed before me on this iv He day of August, 2024.

KATHRYN WHITE
®, Notery Public, North Carolina

Guilfard County
My Commission Expires (SAA ~
eat i Va

Ngtary Public

Exhibit 15; Annex E: Attachment 1, Page 4 of 4

Case 1:24-mc-00643-UN Document 1 Filed 08/09/24 Page 98 of 102

Affidavit 16
Claim of Equitable Title to Property

COMES NOW Affiant, john joseph: whitfield, in esse and sui juris, over the age of
majority, cognizant of the importance of the matters stated herein and competent to give
testimony, this Affidavit superseding any previous Claim of Equitable Title to Property,
solemnly declares that the following statements are true and correct to the best of his
knowledge and experience:

Pre-March 9, 1933, Private American Citizenship Status

1. By virtue of this “Declaration of Status of john joseph: whitfield” (hereinafter
“DOS”), including its attached previous fifteen exhibits, Affiant is a member of the
Preamble’s Constitutional Posterity, one of “We the People of the United States
of America” and a Pre-March 9, 1933, Private Citizen of the United States / Private
American National / Non-“U.S. citizen” / Private State Citizen/State National of the
sovereign Union Nation/State wherein he privately resides at Common Law and
Equity without the military jurisdiction of the “United States” presently under
emergency war powers military occupation since March 9, 1933; and,

2. By virtue of said DOS, Affiant is not a “person” defined by the “Trading With the
Enemy Act” of October 6, 1917, as amended by the “Emergency Banking Relief
Act” of March 9, 1933, (50 USC App. 5(b) now 50 USC 4305(b) and 12 USC 95a)
omitted from Title 12 and removed to a footnote of 50 USC 4305(b); and,

3. By virtue of said DOS, Affiant is not an “enemy” of the United States as defined
by the “Trading With the Enemy Act” (50 USC App. 2(c) now 50 USC 4302(c)),
nor is Affiant a “belligerent” as defined by Article 23(h) of the Hague Convention;
and,

4. By virtue of said DOS, Affiant is a “national” as defined by Article 23(h) of the
Hague Convention, whose rights cannot be “abolished, suspended or inadmissible
in a Court of law” by the temporary Emergency War Powers military government,
its land, naval and air forces occupying the geographic “United States,” both the
States and territories deemed to be conquered territories, from March 9, 1933, to the
present; and,

Exhibit 16; Page 1 of 5
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5. By virtue of said DOS, Proclamation 2040 of March 9, 1933, imposing temporary
Emergency War Powers military government (legislative, executive and judicial),
congressionally “approved and confirmed” by Section 1 of the “Emergency
Banking Relief Act” of March 9, 1933 (12 USC 95b), does not apply to Affiant;

and,

6. By virtue of said DOS, Executive Order 6102, based upon said “Trading With the
Enemy Act” (“Section 5(b) of the Act of October 6, 1917”) as amended by the
“Emergency Banking Relief Act” (“Section 2 of the Act of March 9, 1933”), said
Executive Order issued on April 5, 1933, requiring that “all gold coin, gold bullion
and gold certificates” owned by the above-defined “personjs]” to be delivered to a
Federal Reserve Bank or member bank of the Federal Reserve System by May I,
1933, does not apply to Affiant; and,

7. By virtue of said DOS, Affiant’s Property, now seized due to the necessities of war
by the present Emergency War Powers de facto military government holding legal
title by characteristic thereto, can be administered on behalf of Affiant holding
equitable title to said Property, the Secretary of the Treasury of said Emergency War
Powers military government acting as a custodian of said Property, including said
“gold coin, gold bullion and gold certificates,” while continuing to manage said
Property according to the rules of usufruct in accordance with Article 55 of the
Hague Convention; and,

Claim of Equitable Title to Property

8. By virtue of said DOS, Affiant, holds Equitable Title to all Property, including
certain American “gold coin, gold bullion and gold certificates,” as well as all trust
fund accounts, be they city, county, state, federal and/or international, listed in the
name of “JOHN JOSEPH WHITFIELD” or any other commercial nom de guerre,
held by any State treasury, as well as the United States Treasury and/or its
depositaries, unless another Claimant, holding the same constitutionally-secured,
non-statutory, citizenship status of Affiant, has made both a prior and equal Claim
of Equitable Title to said certain “gold coin, gold bullion and gold certificates” as
well as to said “special trust accounts” established by President Roosevelt’s
Proclamation 2039 issued on March 6, 1933, approved and confirmed by Congress
via the Emergency Banking Relief Act (12 USC 95a-b), said proclamation
continued by Proclamation 2040 issued on March 9, 1933, until a termination
proclamation be promulgated by the president acting as Commander in chief; and,

Exhibit 16; Page 2 of 5
Case 1:24-mc-00643-UN Document1 Filed 08/09/24 Page 100 of 102

9. By virtue of said DOS, despite the “Gold Reserve Act” of January 30, 1934, by
which Act the provisional, Emergency War Powers Congress vested legal “title to
the entire stock of monetary gold in the United States, including the gold coin and
gold bullion heretofore held by the Federal Reserve Banks and the [/egal] claim
upon gold in the Treasury represented by gold certificates” to the temporarily-
imposed, Emergency War Powers “United States Government,” Affiant retains his
Equitable Title by nature to, and therefore the Beneficial Use of, said “gold coin,
gold bullion and gold certificates.” This right to the equitable use of said property
in possession of the Secretary of the Treasury includes Affiant’s right to issue
Private Bills of Exchange for equitable conversion of said equitable title to said
equitable assets of the Name and Estate of JOHN JOSEPH WHITFIELD upon
presentment to the Secretary of the Treasury or his agent for the discharge of
obligations of said Estate of which Affiant is Sole Beneficiary holding Equitable
title by nature to all property and assets thereof in possession of any person or party,
public and/or private, within or without the geographic fifty Union/Nation States
composing the true, constitutionally-created “These United States of America.”

Therefore, based upon the above, Affiant, hereby makes his Claim of Equitable Title to
all Property held by the provisional military government of the United States on behalf of
Pre-March 9, 1933, Private Citizen of the United States / Private American National / Non-
“U.S. citizen” john joseph: whitfield during this temporary state of declared national
banking emergency/state of war. This claim is made pursuant to 50 USC Chapter 53
Section 4309 in anticipation of filing a suit in exclusive American Equity for a full
accounting of said property after the termination of said National Banking Emergency /
State of War (from March 9, 1933, to the Present) and the nullifying of the evil Erie
Decision of 1938.

Maxim: “Equity regards as Done that which Ought to have been Done.”

Further Affiant Sayeth Not.

Exhibit 16; Page 3 of 5
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f “A
Ly x je tgp He
jab joseph: whitfield, American Freeman/State National
Pre-March 9, 1933, Private Citizen of the United States
Private American National/Non-“U.S. citizen”
Private Citizen of the State of North Carolina
Special and Private Resident of the County of Guilford
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“JOHN JOSEPH WHITFIELD”
Sole Beneficiary of the Estate and Name of
“JOHN JOSEPH WHITFIELD”

Exhibit 16; Page 4 of 5
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All Rights Reserved Without Prejudice

Verification and Acknowledgement

United States of America )
State of North Carolina ) S. a.
County of Guilford }

Before Me, on this day john joseph: whitfield, known to me to be the natural person
described herein, who makes oath under the Laws of Jehovah God and the risen Lord Jesus
Christ, set forth in the AK/V161/ Bible and in accordance with the Maxims of Law and Equity,
declares that every statement given above is the whole truth to the best of his knowledge and
experience.

Subscribed and Affirmed before me on this {jth day of August, 2024.

ts KATHRYN WHITE
& Notary Public, North Carolina
Guilford County
# My Commission Expires
“L/L Jak Alo

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